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  EXHIBIT K
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Joshua J. Gayfield
(410) 385-3734
jgayfield@milesstockbridge.com


May 16, 2025

VIA FEDEX
G. Carter-Louis, Operations Manager, Accounts Management Operations 2
Department of the Treasury
Internal Revenue Service
550 Main Street, # 10
Cincinnati, OH 45999-0038

Re:      April 22, 2025 Letter to Second Chance, Inc. (EIN:                             )
         Reference No.: 0237500000

Dear G. Carter-Louis:

Please accept this correspondence as Second Chance, Inc.’s (“Second Chance”) written response
to the IRS’s April 22, 2025 letter (LTR 2644C) regarding the Forms 6118 Second Chance
submitted on October 25, 2024. A copy of the IRS’s April 22, 2025 letter is enclosed herewith as
Exhibit A.

I have enclosed Forms 2848, powers of attorney, authorizing me and my colleague, Patrick F.
Toohey, to represent Second Chance, Inc. (EIN:             ) and its employee, Mark S. Foster
(“Mr. Foster”) (Last 4 of ID:  ), in connection with this matter. The Forms 2848 are enclosed
herewith as Exhibit B.

The primary purposes of this response are (i) to seek clarification regarding the status of Second
Chance’s Forms 6118 and (ii) to supplement the subject Forms 6118 with respect to the reasons
Second Chance is entitled to a refund of the penalties assessed against him.

                                  Status of Second Chance’s Forms 6118

The IRS’s April 22, 2025 letter does not specifically refer to the Forms 6118; however, the letter
states “Form: Civil Pen,” and refers to an “inquiry received Oct. 25, 2024,” which is the date the
IRS received Second Chance’s Forms 6118.1 Although unclear, it appears that the IRS April 22,
2025 is related to the status of the IRS’s processing of Second Chance’s Forms 6118.

As background, the IRS has assessed penalties against Second Chance and Mr. Foster pursuant
to I.R.C. § 6701 for aiding and abetting the understatement of another person’s (i.e., Second
Chance’s donors) tax liability. As described below, Second Chance and Mr. Foster vehemently

1
  The April 22, 2025 letter states “Tax periods: Oct. 31, 2024,” which Second Chance believes is an error, as the
civil penalties assessed against Second Chance (and for which Second Chance submitted its Forms 6118) were for
the tax year 2020.


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dispute their liability for these penalties. Accordingly, upon receipt of the IRS’s September 30,
2024 Notice of Penalty Charge (CP15), Second Chance and Mr. Foster timely paid 15% of their
respective penalties and submitted Forms 6118 for each of the taxpayers identified in the report
(Form 886A) enclosed with the IRS’s July 8, 2024 Determination Letter (the “Determination
Letter”). A copy of the July 8, 2024 Determination Letter is enclosed herewith as Exhibit C.
Second Chance and Mr. Foster to take advantage of the procedures outlined in I.R.C. §§ 6703
and 7422.

On or about April 25, 2025, Mr. Foster received a letter from the IRS stating that the IRS is
“unable to process for a civil penalty removal at this time” and requested that Mr. Foster
“provide the individual Taxpayers social security numbers as required.” Although not stated, we
assume the April 25, 2025 letter was referring to column (e) of the Identification of Penalties
section of each Form 6118, which seeks the “Taxpayer’s identification number.” In column (e)
for each of the forms, Mr. Foster entered “Unknown” because neither he nor Second Chance are
in possession of, have access to, or are entitled to have access to various taxpayer identification
numbers. Of note, Second Chance has not yet received a letter seeking individual taxpayer social
security numbers (LTR96C). However, the Forms 6118 submitted by Second Chance were
nearly identical to the Forms 6118 submitted by Mr. Foster in that Second Chance also entered
“Unknown” in column (e).

Second Chance is a 501(c)(3) nonprofit organization that accepts noncash donations in the form
of deconstructed building materials. Donors to Second Chance may seek to deduct the appraised
value of donated building materials from their taxes, and, in connection with the same, donors
obtain signed 8283 forms from Second Chance (which are typically signed by Second Chance’s
CEO, Mr. Foster) acknowledging receipt of the donated noncash materials. In accepting these
noncash donations, neither Second Chance nor Mr. Foster obtain (and have never intentionally
obtained) personally identifiable information (i.e. social security numbers) from Second Chance
donors. Accordingly, Second Chance is unable to provide the “individual Taxpayer’s social
security numbers.”

Because Second Chance cannot be required to provide information that it does not have (and has
no lawful mechanism of obtaining) in its Forms 6118, the IRS must process the forms without
this information. Alternatively, if the IRS insists upon reviewing this information in order to
process the Forms 6118, we suggest the IRS obtain the individual taxpayers’ social security
numbers from Agent Timothy Bauer (copied on this letter), who authored the Determination
Letter and assessed the subject penalties related to each donation; presumably Agent Bauer has
access to each taxpayer’s SSN in his investigative file.

Accordingly, although the status of Second Chance’s Forms 6118 is unclear based upon the
April 22, 2025 letter, Second Chance asks that the IRS timely process the Forms 6118 submitted
on October 25, 2024, as supplemented below.

                        Supplement to Forms 6118 Submitted October 25, 2024

In order to ensure that the IRS does not further delay its decision on the Forms 6118, Second


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Chance submits the following supplement to the reasons for claiming a refund as explained in
the Forms 6118 submitted on October 25, 2024:

As noted, Mr. Foster is not liable for penalties assessed under I.R.C. § 6701. Imposition of a
penalty pursuant to I.R.C. § 6701 requires satisfaction of three (3) elements. The IRS, however,
has not established the required elements. The first element requires that a person aid, assist,
procure, or advise with respect to the preparation or presentation of a federal tax return, refund
claim, or other document. The IRS appears to take the position that Mr. Foster’s signature on the
Forms 8283, contemporaneous written acknowledgements, and Charitable Contribution
Agreements satisfies this element. Not so. Neither Mr. Foster nor Second Chance have ever
aided or assisted donors in the preparation of their federal tax returns. Second Chance is a
charity, not a tax preparer. Mr. Foster works for that charity, not for a tax preparation service.
Indeed, Form 8283 documents signed by Mr. Foster merely confirm Second Chance’s receipt of
donated materials, which Second Chance is required to do under I.R.C. rules related to noncash
donations.

The second element requires that a person knows or has reason to know that such portion (of the
documents/materials referenced in element one) will be used in connection with any material
matter arising under the internal revenue laws. The IRS again contends that Mr. Foster’s
signature on donors’ Forms 8283, together with Second Chance and Mr. Foster’s generalized
acknowledgment of the tax benefits associated with I.R.C. complaint, noncash donations,
satisfies element two. While Second Chance and Mr. Foster acknowledge that tax benefits are
available to their donors, neither Second Chance nor Mr. Foster know whether their donors will,
in fact, take advantage of these benefits. Moreover, a charity’s mere acknowledgment of receipt
signature on the Form 8283 does not endorse valuation or any other portion of a tax return.

Finally, the third element requires a person to know that such portion (again referring to the
documents/materials referenced in element one), if used, would result in the understatement of
the tax liability for another person. The IRS’s contentions with regard to the third element are
particularly problematic. Specifically, the IRS appears to take issue with the valuation
methodology by a third-party materials appraiser utilized by some of Second Chance’s donors.
Problematically, it stretches disagreements about valuation methodologies into a conclusion that
Second Chance and Mr. Foster somehow knew that the third-party appraisals would lead to an
“understatement of another person’s tax liability.” Not only does this erroneous conclusion
propose to make charities and their personnel the arbiters of valuation methodologies employed
by qualified third-party property appraisers, but it does also so without a single reference to
statutory or other authority demonstrating that somehow the appraisal methodology employed
was unlawful or that a charity whose donors rely on such methodology can be penalized for the
same. For these reasons, among others, Second Chance respectfully denies that it is liable for any
penalty under I.R.C. § 6701 and requests that a refund be issued for the portion of the penalty it
has paid.

Although Second Chance was only recently assessed penalties pursuant to I.R.C § 6701, the
IRS’s scrutiny of Second Chance and Mr. Foster has been in motion for well over a decade. For
reasons explained by Thomas O’Rourke in his February 15, 2021 correspondence to Agent


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Donna Lamonna, a copy of which is enclosed herewith as Exhibit D, there is no legitimate basis
for this newest examination as neither Second Chance nor Mr. Foster are involved in promoting
improper tax avoidance transactions. Second Chance and Mr. Foster have been fully compliant
with all previously-issued and available IRS guidance, to the extent there is any at all. Over the
years, despite the extraordinary burden and expense of the IRS’s various investigations, Second
Chance and Mr. Foster have at all times cooperated with the IRS and have provided all
information that has been requested. None of the information provided to the IRS in this newest
examination has demonstrated anything contrary to our initial position.

We thank you for your consideration, and look forward to hearing from you shortly regarding the
requested clarification of the status of Second Chance’s Forms 6118. Please also confirm your
acceptance of this correspondence as Second Chances’s formal supplement to the Forms 6118
filed on October 25, 2024. If I can provide any further information, or if you would like to
discuss in further detail, please do not hesitate to contact me.

Very truly yours,




Joshua J. Gayfield

cc:      Timothy Bauer, Supervisory Internal Revenue Agent (via fax: 888-850-0320)




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   EXHIBIT A
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   EXHIBIT B
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        2848.
                                                                                                                                          OMB No. 1545-0150
 Form
                                                        Power of Attorney
                                                                                                                                            For IRS Use Only
 (Rev. January 2021)                            and Declaration of Representative                                                        Received by:
 Department of the Treasury
 Internal Revenue Service              lio Go to www.irs.govIForm2848 for instructions and the latest information.
                                        .

                                                                                                                                         Name
  Part I        Power of Attorney                                                                                                        Telephone
                Caution: A separate Form 2848 must be completed for each taxpayer. Form 2846 will not be honored                         Function
                for any purpose other than representation before the IRS.                                                                Date
    1    Taxpayer information. Taxpayer must sign and date this form on page 2, line 7.
 Taxpayer name and address                                                               Taxpayer Identification number(s)

 Mark S. Foster
                                                                                         Daytime telephone number              Plan number (if applicable)
 600 E. Seminary Ave., Towson, MD 21286
 hereby appoints the following representative(s) as attorney(s)-in-fact:
   2     Representative(s) must sign and date this form on page 2, Part II.
 Name and address                                                                           CAF No.
 Joshua J. Gayfield, Esq.                                                                   PTI
                                                                                              N
                                                                                            Telephone No.                 410-385-3734
 Miles & Stockbridge P.C., 100 Light St., Baltimore, MD 21202                               Fax No.                     410-773-9096
 Check if to be sent copies of notices and communications             a         Check if new: Address U           Telephone No. U               Fax No. fA
 Name and address                                                                           CAF No.
 Patrick F. Toohey, Esq.                                                                    PTI
                                                                                              N

Miles & Stockbridge P.C., 11 N. Washington St., Suite 700, Rockville, MD                    Telephone No.                 301-517-4803
20850                                                                                       Fax No.                     301-762-0363
Check if to be sent copies of notices and communications               J        Check if new: Address 21          Telephone No. ri              Fax No. ri
Name and address                                                                            CAF No.
                                                                                            PTIN
                                                                                           Telephone No.
                                                                                            Fax No.
(Note: IRS sends notices and communications to only two representatives.)       Check if new: Address U           Telephone No. I               Fax No. El
Name and address                                                                            CAF No.
                                                                                            PTIN
                                                                                           Telephone No.
                                                                                           Fax No.
(Note: IRS sends notices and communications to only two representatives.)       Check if new: Address El          Telephone No. El              Fax No. I
to represent the taxpayer before the Internal Revenue Service and perform the following acts:

   3     Acts authorized (you are required to complete line 3). Except for the acts described in line 5b, I authorize my representative(s) to receive and
         inspect my confidential tax information and to perform acts I can perform with respect to the tax matters described below. For example, my
         representative(s) shall have the authority to sign any agreements, consents, or similar documents (see instructions for line 5a for authorizing a
         representative to sign a return).

 Description of Matter (Income, Employment, Payroll, Excise, Estate, Gift,
                                                                                        Tax Form Number                    Year(s) or Period(s) (if applicable)
   Whistleblower, Practitioner Discipline, PLO, FOIA, Civil Penalty, Sec.
                                                                               (1040, 941, 720, etc.) (if applicable)              (see instructions)
      4980H Shared Responsibility Payment, etc.) (see instructions)



Civil Penalty                                                                                     6118                                    2020




  4     Specific use not recorded on the Centralized Authorization Fle (CAF). If the power of attorney is fo a specific use not recorded on
        CAF, check this box. See Line 4. Specific Use Not Recorded on CAF in the instructions                                            P                     El
  5a    Additional acts authorized. In addition to the acts listed online 3 above, I authorize my representative(s) to perform the following acts (see
        Instructions for line 5a for more Information): El Access my IRS records via an Intermediate Service Provider;
        El Authorize disclosure to third parties;       El Substitute or add representative(s);      El Sign a return;



        El Other acts authorized:


For Privacy Act and Paperwork Reduction Act Notice, see the instructions.                           Cat. No. 11980J                    Form 2848 (Rev. 1-2021)
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Fern, 2048 (flt 1-2021)                                                                                                                                  Fs   2

    b    Specific acts not suthør1zd, My rapresentativo(s) I (ore) not authorized to endorse or otherwise negotiate any check (including directing or
            cepting payment by any means, electronic or otherwise, into an account owned or controlled by the representotive(a) or any firm or ether
         entity with whom the repros ,lOtiv9(s) Is (
                                                   are) associated) Issued by the government In respect of federal tax liability.
         List any other specific deletionS to the acts otherwise outhorled In this power of attorney (see Instructions for line 8b):


         RetentIon/revocatIOn of prior powr(e) of attorney. The filing of this power of attorney automatically revokes all earlier power(s) of
         attorney or, file with the infernal Revenue Service f
                                                             or the same matters and yearn or periods covered by thin form. if you do net want to
         revoke a prior power of attorney, check here                                                                                                         Q
         YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.
         Taxpayer declaration and signature. If o tax matter concerns a year In which a joint return was filed, each spouse must file a separate power
         of attorney oven if they are appointing the some representative(s), If sIgned by a corporate officer, partner, guardian, tax mailers partner,
         partnership representative (or designated individual, If eppliOable, executor, receiver, administrator, trustee, or Individual other than the
     '   taxpayer, I certify I have the legal authority to execute this form on behalf of the taxpayer.
           IF NOT COMPLETEQL SIGNED, AND DATED, THE IRS WILL RETURN THIS POWER OF ATTORNEY TO THE TAXPAYER ,



                   '°       SriOture
                                                                     4-        ate               -                    Title (if applicable)


Mark S Foster
                           Print name                                                Print name of taxpayer from line 1 if other than Individual
               DeclaraVonof ReprsenthtIve
Under penalties of perjury, by my sign ature below I declare that
• I am not currently suspended or disbarred from practice, or ineligible for practice, before the internal Revenue Service,
• I em subject to regulations in Circular 230 (31 CFR, Subtitle A, Pert Ia), as amended, governing practice before the Internal Revenue Service;
• I am authorized to represent the taxpayer identified in Part I for the mailer(s)Specified there; and
• I am one of the following:
  a Attorney— a member In good standing of the bar of the highest court of the jurisdicti on shown below,
  b Certified Public Accountant- e holder of an active iicene to practice as a certified public accountant in the jurisdiction shown below.
  o Enrolled Agent— enrolled as on agent by the IRS per the requirements of Circular 230.
  d Officer— a bona tide officer of the taxpayer organization.
  e Full-Tlme Employee— a full-time employee of the taxpayer.
    Family Member— a member of the taxpayer's immediate family (spouse, parent, child, grandparent, gi'arndchhid, step-parent, step- child, brother, or aisteni
  g Enrolled Actuary— entailed as an actuary by the Joint Board for the Enrolrent of Actuaries under 29 USC. 1242 (the authority to practice before
    the IRS Is limited by section 103(d) of Circular 230)
  h Unenrollod Return Preparer—Authority to practice before the IRS Is limited, An unenrolled return preparer may represent, provided the preparer (1)
    prepared and signed the return or claim for refund (or prepared if there Is no signature space on the form); (2) was eligible to sign the return or
    claim for refund; (3) has a valid PTiN; and (4) possesses the required Annual Filing Season Program Record of Completion(s). Sc. Special Rules
    and Requirement, for Unenrolled Return Proparerm In the Instructions for additional information.
  It Qualifying Student or Law Graduate— receives permission to represent taxpayers before the IRS by virtue of his/her status as a law, business, or
     accounting student, or law graduate working In a LITC or STOP. See Instructions for Part ii for additional information and requirements.
 r Enrolled Retirement Plan Agent— enrolled as a retirement plan agent under the requirements of Circular 230 (the authority to practice before the
   Internal Revenue Service is limited by section 10.3(e))
      IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED AND DATED, THE IRS WILl.. RETURN THE
    POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER LISTED IN PART I, LINE 2.
Not For designation"-f, enter your title position , or rationatfpto the taxpayer in the ' UcejurdiOtincolumn.

                   Licensing jurisdiction    Rat, license, certification,
 Designation—
                      (State) or other       registration, or enrollment                                 Signature                                  Data
  Insert above
                    licensing authority        number- ( if applicable)
   letter (a-r).
                       (if applicable)


                               MD                   00121 50261


                               MO                   1612140297
                                                                                     /                                                //




                                                                                                                                       rorm 2848 (Rev . 1-2021)
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        2848
                                                                                                                                            OMB No. 1545-0150
 F..
                                                          Power of Attorney
                                                                                                                                             For IRS Use Only
 (Rev. .January 2021)                             and Declaration of Representative                                                        Received by:
 Department 01 the Treasury
 Internal Revenue Service               10- Go to www.Irs.govIForm2848 for instructions and the latest information.                        Name
  Part I         Power of Attorney                                                                                                        Telephone
                Caution: A separate Form 2848 must be completed for each taxpayer. Form 2848 will not be honored                           Function
                for any purpose other than representation before the IRS.                                                                  Date
    1     Taxpayer information. Taxpayer must sign and date this form on page 2, line 7.
Taxpayer name and address                                                                  Taxpayer Identification number(s)
Second Chance, Inc.
                                                                                           Daytime telephone number             Plan number (if applicable)
1700 Ridqley St., Baltimore MD 21230
hereby appoints the following representative(s) as attorney(s)-in-fact:
   2      Representative(s) must sign and date this form on page 2, Part 111-
Name and address                                                                             OAF No.
Joshua J. Gaylield, Esq.                                                                     PTIN
                                                                                             Telephone No.                  410-385-3734
Miles & Stockbridge P.c., 100 Light St., Baltimore, MD 21202                                 Fax No.                     410-773-9096
Check [Ito be sent copies of notices and communications                 19        Check If new: Address U         Telephone No. U                 Fax No.
Name and address                                                                             CAF No,
Patrick F. Toohey, Esq.                                                      .
                                                                                             P11W
Miles & Stockbridge P.C., 11 N. Washington St., Suite 700, Rockville MD                      Telephone No.                  301-517-4803
20850                                                                                        Fax No.                     301-762.0363
Check If to be sent copies of notices and communications .4                       Check if new: Address LZJ       Telephone No.      A'           Fax No. 1
                                                                                                                                                          2
Name and address                                                                             CAF No.    -




                                                                                             PTIN
                                                                                             Telephone No.
                                                                                             Fax No.
(Note: IRS sends notices and communications to only two representatives.)         Check If new: Address U         Telephone No. U                 Fax No. U
Name and address                                                                             CAF No.
                                                                                             PTI
                                                                                               N
                                                                                             Telephone No.
                                                                                              Fax No.
(Note: IRS sends notices and communications to only two representatives.)         Check if new . Address U        Telephone No. U                 Fax No. U
to represent the taxpayer before the Internal Revenue Service and perform the following acts:

   3     Acts authorized (you are required to complete line 3). Except for the acts described in line Sb, I authorize my representative(s) to receive and
         inspect my confidential tax information and to perform acts I can perform with respect to the tax matters described below. For example, my
         representative(s) shall have the authority tosign any.agreements, consents, or similar documents (see Instructions for line 5a for authorizing a
         representative to sign a return).

 Description of Matter (Income, Employment, Payroll, Excise, Estate, Gift,
                                                                                          Tax Form Number                   Year(s) or Period(s) (if applicable)
   Whistlebiower, Practitioner Discipline, PLR, FOIA, Civil Penalty, Sec.
                                                                                 (1040, 941, 720, etc.) QI applicable)              (see instructions)
      4980H Shared Responsibility Payment, etc.) (see instructions)


Civil Penalty                                                                                    6118                                      2020




  4      Specific use not recorded on the Centralized Authorization F I          (
                                                                                 CAP). If the power of attorney is fo a specific use not recorded on
         OAF, check this box. See Line 4. Specific Use Not Recorded on CAF in the instructions                                                                  0
  5a     Additional acts authorized. In addition to the acts listed an line 3 above, I authorize my representative(s) to perform the following acts (see
         instructions for line 5a for more Information):   [1 Ac cess my IRS records via an Intermediate Service Provider;
        U Authorize disclosure to third parties;           LI Substitute or add representative(s); 0 Sign a return;



        0 Other acts authorized:


For Privacy Act and Paperwork Reduction Act Notice, see the Instructions.                           Cat. No. 11980J                     Form 2848 (Rev. 1-2021)
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       b   Specific acts not authorized. My representative(s) is (are) not authorized to endorse or otherwise negotiate any check (including directing or
           accepting payment by any means, electronic or otherwise, into an account owned or controlled by the representative(s) or any tim, or other
           entity with whom the representative(s) is (are) associated) issued by the government in respect of a federal tax liability.
               List any other specific deletions to the acts otherwise authorized in this power of attorney (see instructions for line Sb);


   6       Retention/revocation of prior power(s) of attorney. The filing of this power of attorney automatically revokes all earli
                                                                                                                                  er power(s) of
           attorney on file with the Internal Revenue Service for the same matters and years or periods covered by this form, If you do not want to
           revoke a prior power of attorney, check here                                                                                          Io.                 0
           YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.

   7       Taxpayer declaration and signature. If a lax matter concerns a year In which a joint return was filed, each spouse must file a separate power
           of attorney even if they are appointing the same representative(s), if signed by a corporate officer, partner, guardian, tax matters partner,
           partnership representative (or designated individual, if applicable), executor, receiver, administrator, trustee, or individual other than the
           taxpayer, I certify I have the le al authority to execute this form on behalf of the taxpayer.
                '   IF NOT COMPLET         ,   SI   ED, AND DATED, THEIRS WILL RETURN THIS POWER OF ATTORNEY TO THE TAXPAYER.


                       I
                                  Signature
                                                                                     3O.,LO25 President
                                                                                    Date
                                                                                                                            Title (ii applicable)



                                                                             Second Chance, Inc.
                                 Print name                                                Print name of taxpayer from line 1 if other than Individual
  Part ii             Declaration of Representative
 Under penalties of perjury, by my signature below I declare that;
• I am not currently suspended or disbarred from practice, or ineligible for practice, before the Internal Revenue Service;
a I ant subject to regulations in Circular 230 (
                                               31       CFR, Subtitle A, Part 10), as amended, governing practice before the Internal Revenue Service;
• I am authorized to represent the taxpayer identified In Part I for the matter(s) specified there; and
• i am one of the following:
   a Attorney— a member in good standing of the bar of the highest court of the jurisdiction shown below.
   b Certified Public Accountant—a holder of an active license to practice as a certified public accountant in the jurisdiction shown below.
   o Enrolled Agent— enrolled as an agent by the IRS per the requirements of Circular 230.
  d Officer— a bona tide officer of the taxpayer organization.
  e Full-Time Employee— a full-time employee of the taxpayer.
  f Family Member— a member of the taxpayer's immediate family (spouse, parent, child, grandparent, grandchild, step-parent, step-child, brother, or sister).
  g Enrolled Actuary— enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the authority to practice before
    the IRS is limited by section 10.3(d) of Circular 230).
  h Unenrolled Return Preparer—Authority to practice before the IRS is limited. An unenroiied return preparer may represent, provided the preparer (1)
    prepared and signed the return or claim for refund (Or prepared If there is no signature space on the form); (2) was eligible to sign the return or
    claim for refund; (
                      3) has a valid PuN; and (
                                              4) possesses the required Annual Filing Season Program Record of Completion(s). Soo Special Rules
    and Requirements for Unenrolied Return Preparers is, the instructions for additional Information.
  k Qualifying Student or Law Graduate— receives permission to represent taxpayers before the IRS by virtue of his/her status as a law, business, or
    accounting student, or law graduate working in a LITC or STOP. See instructions for Part Ii for additional information and requirements.
  r Enrolled Retirement Plan Agent— enrolled as a retirement plan agent under the requirements of Circular 230 (the authority to practice before the
    Internal Revenue Service is limited by section 10.3(e)).

     llh IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THE
       '




     POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER LISTED IN PART I, LINE 2.
Note: For designations d—f, enter your title, position, or relationship to the taxpayer in the " Licensing jurisdiction" column.

                        Licensing jurisdiction
  Designation—                                      Bar, license, certification,
                           (State) or other
   Insert above                                     registration, or enrollment                              Signature                                     Date
                         licensing authority
    letter (a.-r),                                    number (if applicable)
                            (If applicable)



           a                      MD                       0912150281


           a                     MD                                                                                                                             0.




                                                                                                                                              Form 2848 lFtev. 1-20211
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   EXHIBIT C
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         Department of the Treasury                                                 Date:
         Internal Revenue Service                                                    07/08/2024
         Small Business/Self-Employed Division
 IRS 2670 Industrial Highway
                                                                                    Taxpayer ID number ( last 4 digits):


                                                                                   Taxpayer name:
         York, PA 17402
                                                                                     Second Chance, Inc.
                                                                                    Form number:

                                                                                     Civil penalties
         Miles & Stockbridge P.C.                                                  Years:
         Attn: Joshua Gayfield                                                       202012
         100 Light Street                                                          Person to contact:
         Baltimore, MD 21202                                                         Donna Lamonna
                                                                                   Employee ID number:

                                                                                     1000831807
                                                                                   Contact telephone number:

                                                                                     223-259-5340
                                                                                   Contact fax number:

                                                                                     888-850-0320
Dear Joshua Gayfield:

We are sending the enclosed material under the provisions of your power of attorney or other authorization we
have on file. For your convenience, we have listed the name of the taxpayer to whom this material relates in the
heading above.

If you have any questions, please call the contact person at the telephone number shown in the heading of this
letter.

Thank you for your cooperation.

                                                        Sincerely,
                                                                         Digitally signed by Timothy
                                                                         Bauer
                                                                         Date 2024.07.08 0629 11
                                                                         -0700


                                                        Timothy Bauer
                                                        Supervisory Revenue Agent

Enclosures:
   Letters
   Reports
[]Copy of Determination Letter
  Other




                                                                                                         Letter 937 ( Rev. 3-2017)
                                                                                                         Catalog Number 30760X
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         Department of the Treasury                                                 Date:
         Internal Revenue Service                                                     07/08/2024
         Small Business I Self-Employed Division
JR       2670 Industrial Highway
                                                                                    Taxpayer ID number: ( last 4 digits):


         York, PA 17402                                                             Person to contact:
                                                                                      Donna Lamonna
                                                                                    Contact telephone number:
                                                                                      223-259-5340
         Second Chance, Inc.                                                        Contact fax number:
         do Mark Foster                                                               888-850-0320
         1700 Ridgely Street                                                        Employee ID number:
         Baltimore, MD 21230                                                          1000831807




Dear Second Chance, Inc.:

We determined the penalty under Section 6701, Penalties for Aiding andAbetting Understatement of Tax Liability
is applicable. The enclosed Forms 886-A, Explanation of Items, and Computation of Penalty, explain the
reasons for our determination and the computation of the penalty amounts.

If you want to submit a written rebuttal to the enclosed report, you must do so by July 23, 2024.
If your written rebuttal isn't received by then, the investigation will be closed based on the information
available.

The penalty under IRC Section 6701 is subject to special administrative provisions of IRC Section
6703, Rules. If you want to contest the penalty after we assess it, one option is to file a claim for refund.

After we close the investigation, we'll send you a CP 15 or CP2 15 penalty assessment notice which will explain
your options in greater detail. To take advantage of the IRC Section 6703 special procedures for claiming a
refund, you must respond to the assessment notice within 30 days from the date of the notice by filing the
required form, either Form 6118, Claim for Refund of Tax Return Preparer and Promoter Penalties, or Form
843, Claim for Refund and Request for Abatement, and paying 15% of the amount assessed. You can also
choose to contest the penalty assessment by following the general refund procedures in IRC Section 7422,
Refund Suits. You can get more information about IRC Sections 6703 and 7422 by visiting our website at
www.irs.gov.

If you have questions, you can contact me at the telephone number listed above.

Thank you for your cooperation.

                                                           Sincerely,
                                                                        Digitally signed by

                                                                 B      Timothy Bauer
                                                                        Date: 2024.07.07
                                                                        14:28:59 - 0700'

                                                           Timothy Bauer
                                                           Supervisory Internal Revenue Agent

Enclosures:
Forms 886-A
Computation of Penalty



                                                                                                  Letter 5390 ( Rev. 11-2016)
                                                                                                  Catalog Number 66286U
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                                                                                                     202012
    Second Chance, Inc.

PENALTIES:

                               2020

        Per IRC §6701 $22,000

ISSUE: Internal Revenue Code (IRC) § 6701 Penalty

Whether Second Chance, Inc. is subject to penalties under IRC §6701 for aiding or assisting in,
procures, or advises with respect to the preparation or presentation of a federal tax return, refund
claim, or other document knowing (or having reason to believe) that it will be used in connection
with any material matter arising under the Internal Revenue laws and knowing that if it is so
used, it will result in an understatement of another person's tax liability.



FACTS:

Second Chance, Inc. is a 501(c)(3) nonprofit organization. Mark Foster is the founder and CEO.
Second Chance, Inc. is involved in the deconstruction of houses and buildings. Deconstruction
is taking a house apart in the reverse order that it was constructed with the hopes of salvaging
materials that can be repurposed. Per its website, "The Second Chance mission has always been
(1) to retrain and create employment for displaced and unemployed workers; (2) to reclaim
building material to reduce environmental harm and demolition debris in burgeoning landfills;
(3) to renew both people and products to useful, purposeful life. As a result, Second Chance
provides jobs and a green collar workforce, protects the natural environment, and preserves
people and our rich architectural heritage." Any items salvaged from these projects are taken
back to the Second Chance warehouse in Baltimore, MD where they are sold to the public.

The individuals involved in the deconstruction of houses receive hands on training on the correct
way to deconstruct a property. In the Mann v. United States case, Second Chance, Inc. was the
deconstruction company. As is stated in this case, "it is undisputed that some parts of a structure
are necessarily destroyed as part of the deconstruction process and that some of Second Chance's
training includes deliberately destroying parts of a structure for the purpose of training, such as
destroying a window to show what happens if you wedge this too hard". As a result, not all
components of a house are salvageable.

There are many documents involved in the deconstruction process. The client signs an
Agreement for Charitable Contribution and Pledge Agreement. After the deconstruction process
is over, Second Chance, Inc. provides the client with a signed letter thanking them for the
donation of the property and after the pledge is paid, they send another signed letter thanking
them for the cash donation. Mark Foster signs these thank you letters as Chief Executive Officer
of Second Chance, Inc. On occasion, the letter acknowledging the donation of the property may
be signed by a member of the Deconstruction Sales Team. Mark Foster is the author of these


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agreements and letters. Most of the communication throughout the deconstruction process is
done via email and Mark Foster is cc'd on all communications.

The deconstruction process begins with the client meeting with a member of the Deconstruction
Sales Team. To not overwhelm the client at the first meeting, the deconstruction process is
explained in general terms. Once the client decides to go through with deconstruction, the
process is explained in more detail. During these discussions, the Deconstruction Sales Team
member will provide the client with a Deconstruction Information Guide that explains the steps
of the deconstruction process. The client is also given a Tax Strategy Planning Worksheet that
provides an example of the estimated tax savings of the donation using $200,000 as the fair
market value until the range of value is determined by the appraiser. When the range of value is
determined, it is given to the client and emailed to Second Chance who prepares a new Tax
Strategy Planning Worksheet that is tailored to that client using the figure that falls in the middle
of this range of value.

The Deconstruction Sales Team member tells the client that a qualified appraisal of the property
is required to claim the noncash charitable contribution deduction. An email is sent to the client
by Second Chance, Inc. summarizing the details of the deconstruction process. The email states,
"Once we have answered all of your questions, the first step is to contact an appraiser. One
appraiser who specializes in building materials appraisals is Green Donation Consultants. Their
contact information is as follows." The email and phone number of Green Donation Consultants
(owned by Patrick Smith) is then provided. If the client requests a list of appraisers, then a list of
qualified appraisers is given to the client however Patrick Smith of Green Donation Consultants
is usually at the top of the list, and he is the appraiser that is recommended. Patrick Smith has
completed appraisals for approximately 95%-98% of Second Chance clients.

Prior to engaging the appraiser, Patrick Smith will provide the client with a free estimate of the
value of the house as it sits on the land. No appraisal is given to the client at this point, just a
range of value. It's not until the client engages the appraiser by signing a contract and paying for
the appraisal is the final appraisal given to the client. In order to provide an estimate or range of
value of the property at this point, either Patrick Smith or an employee of Green Donation
Consultants will visit the property, take pictures and measurements. Patrick Smith inputs this
information into the R.S. Means software. R.S. Means is a software used by the construction
industry to determine what it would cost to build a house today. Patrick Smith uses this software
to determine the cost of building a new home and reaches a valuation determination by
subtracting overhead costs and a depreciation percentage from the cost. This method does not
reflect the resale value of the items actually removed by Second Chance, Inc., but instead shows
what it would cost today to reconstruct the entire home and its contents as if it were a newly built
house.

Patrick Smith then gives the client a value range of what it would cost to build this house
currently. The value range does not consider what components would successfully be
deconstructed or the condition of the components in their deconstructed state. This range of


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value is given to the Deconstruction Sales Team member who uses the Tax Strategy Planning
Worksheet to determine the estimated tax savings of the donation. The estimated tax savings is
determined prior to knowing what items would be salvaged and their condition. The Tax
Strategy Planning Worksheet is then given to the client who can decide if it is cost effective to go
through with the deconstruction. The value used in the final appraisal always falls within the
estimated value range provided by the appraiser prior to deconstruction and reported on the Tax
Strategy Planning Worksheet.

Once the decision is made to move forward with the project, the client is asked to sign an
Agreement for Charitable Contribution. This agreement states, "Owner desires to contribute to
Second Chance the existing improvements, buildings, and fixtures upon such Premises
(collectively the "improvements"), which such Improvements shall be treated as personalty
(personal property) severed from the Premises, for the express purpose of Second Chance using
the Improvements in its charitable operations." This agreement also includes the charitable
pledge amount that was decided upon between Second Chance, Inc. and the client. The client is
told the date they sign the agreement is considered the donation date when in fact the donation
date is when the house was actually deconstructed, and Second Chance, Inc. took possession of
the components. Title of the property was never transferred to Second Chance, Inc., therefore
Second Chance, Inc. didn't own anything until the deconstruction.

In addition to the donation of the salvaged materials of the house, the client signs an agreement
executing a binding charitable pledge whereby owner agrees to honor its pledge of an amount
that is agreed upon. The initial pledge amount is determined by the Deconstruction Sales
Manager. Mark Foster stated in his interview, "the purpose of the pledge is to offset
deconstruction costs and provide support for the broad mission of Second Chance. The profits
from the sale of the salvaged items don't even cover the cost of labor to deconstruct. Because of
this the pledges are high, but they must be fair and equitable for both parties". The first step to
determine the pledge amount is to look at the appraiser's field survey to determine the cost of the
project, size of the project and the scope of the work. The highest expense for deconstruction is
the payroll cost. The client has the option of paying the pledge amount in one lump sum or pay it
over multiple years.

Once the Agreement for Charitable Contribution and Pledge Agreement are signed, the client
engages the appraiser. The Director of Deconstruction then schedules the dates for
deconstruction. Present at the deconstruction are the crew members and the foreman. The crew
leader is told to complete the list of salvaged items (also known as manifests) as they are being
loaded onto the truck. Mark Foster stated in his interview that complete lists of salvaged items
with the condition of the items are not maintained, and the incomplete lists that are maintained
are not given to the appraiser or the client. Although Second Chance, Inc. does not determine the
value of the salvaged components, it is their responsibility to maintain complete lists of salvaged
items including the condition of the items in their deconstructed state and provide the lists to the
appraiser. The appraiser is typically not present during deconstruction or when the salvaged
items are taken away therefore the appraiser does not see what items are salvaged or the


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condition. Second Chance, Inc. does not take pictures of the items salvaged. The only pictures
that are taken would be of personal property such as furniture and appliances. Most of the
salvaged items are taken back to the Second Chance, Inc. warehouse in Baltimore, MD where
they are listed for sale. In the interview of Mark Foster, he stated the profits from the sale of the
salvaged items don't even cover the cost of labor to deconstruct a house.

During the deconstruction, items not salvaged are thrown into dumpsters or into the basement for
removal by the demolition company. After the deconstruction is completed, the client is
responsible for paying to have the remaining portion of the house demolished. As was
previously stated, upon initial inspection of the property as it sits on the land, Patrick Smith
enters the measurements and components of the house into R.S. Means software. This software
prints out a list of all the components and their current value. It is not a list of salvaged items
and their value in their deconstructed state. The range of value given to the client prior to
deconstruction is the result of the measurements and components entered into the R.S. Means
software. The value per the final appraisal always falls within this range of value which
confirms that the list given to Second Chance represents the components prior to deconstruction
and the final appraisal value is not revised to reflect salvaged items and their "as-deconstructed"
condition. Patrick Smith provides Second Chance with this list he created from R.S. Means
which represents the entire house prior to deconstruction, less drywall, masonry, tile and mirror.
If before deconstruction the client says they want to keep some of the items, the R.S. Means list
is not adjusted. The list from R.S. Means is copied word for word and Mark Foster signs it as
"All Materials Received". The R.S. Means list is attached to the appraisal as Addendum A and
the list signed by Mark Foster is usually attached as Addendum AA. The appraiser sends the
appraisal to the client and a copy is kept in the client file maintained by Second Chance, Inc.
The appraiser signs Form 8283, forwards it to Second Chance and Mark Foster signs the Form
8283 as President of Second Chance, Inc. and gives it to the client.

Mark Foster stated that in 2010 or 2011, he met with Internal Revenue Service agents in
Annapolis, MD and discussed the proper way to value the houses that were being deconstructed.
He felt the entire house should be valued since it was donated to be used in Second Chance,
Inc.'s mission to retrain and create employment for displaced and unemployed workers. He
learned during this discussion that the proper way to value the donation was to determine the
value of the salvaged items in their deconstructed state that cross the threshold of Second
Chance, Inc.'s warehouse. Mark Foster stated in his interview that starting in 2012, no longer
could the entire house be deducted but only the salvaged items.

The Mann v. United States case was filed in the court 1/31/2019. Second Chance, Inc. was the
deconstruction company and Patrick Smith was the appraiser, therefore Second Chance, Inc.
was aware of the outcome of the case. The courts decided the appraisal was invalid because it
calculated the value of the house at its highest and best use. The second appraisal prepared by
Patrick Smith and provided by the clients specifically stated that it seeks to "determine the fair
market value of the donated structure's used building components when sold on the 2nd hand
market" by taking the value of new versions of the building materials comprising the house and


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depreciating those materials based on the age of the house. Second Chance, Inc. stated to the
Maims, and the court agreed, the proper way to calculate a tax deduction from this donation is
based on the resale value of the specific building materials and contents that "we actually take
away from the site" and that "cross the threshold" of Second Chance's warehouse.



LAW:

IRC §6701(a) penalizes any person who aids or assists in, procures, or advises with respect to the
preparation or presentation of a federal tax return, refund claim, or other document knowing (or
having reason to believe) that it will be used in connection with any material matter arising under
the internal revenue laws and knowing that if it is so used it will result in an understatement of
another person's tax liability.

Under IRC § 6701(b) the amount of the penalty shall be $ 1,000 however if the return, affidavit,
claim, or other document relates to the tax liability of a corporation, the amount of the penalty
shall be $ 10,000.

Per IRC § 6701 (c)( 1), the term "procures" includes "ordering (or otherwise causing) a
subordinate to do an act", as well as "knowing of, and not attempting to prevent, participation by
a subordinate in an act".



GOVERNMENT'S POSITION:

It is the government's position that the penalty per IRC §6701 is applicable for the reasons stated
below.


Element #1: Aids, assists in, procures, or advises with respect to the preparation or presentation
of a federal tax return, refund claim, or other document.

When a client is deciding whether to move forward with the deconstruction, the appraiser,
Patrick Smith, or one of his employees will visit the property to take pictures and measurements
of the interior and exterior. To give the client an estimated value range of the contribution, the
appraiser relied upon the construction estimating software package R.S. Means to determine the
cost of building a new home on the property and made adjustments purporting to account for
physical depreciation and functional obsolescence. This list of building materials from R.S.
Means prior to deconstruction was included in the appraisal as Addendum A. The R.S. Means
list was provided to Second Chance, Inc. who then copied this list to a new document and Mark
Foster signed the document as "All Materials Received". This list is also included in the
appraisal as Addendum AA. This list cannot be an accurate list of the items salvaged for the
following reasons. ( 1) The list is a breakdown of the components of the house as it stood on the
land prior to deconstruction; (2) Individual items on the R.S. Means list are not listed and the


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items listed on the incomplete list of salvaged items are labeled differently than what is on the
R.S. Means list. For example, the R.S. Means list provides one value for the entire bathroom,
rather than valuing the components of the bathroom. The list of salvaged items will list toilet,
sink, etc. separately. It is very possible that all the components of the bathroom were not
salvaged; The R.S. Means list reflects approximately 5-7 line items for "framing systems"
however the list of salvaged items lists "lumber" with no total amount of lumber or else lumber
isn't listed at all; (3) The list of salvaged items prepared by Second Chance, Inc. reflects less
items than is listed on the R.S. Means list that Mark Foster signed; (4) Mark Foster admitted the
lists of salvaged items are not given to the appraiser and the appraiser does not see the items after
they are deconstructed therefore how can he appraise them; (     5) The list signed by Mark Foster
indicating "All Materials Received" is dated prior to deconstruction. As a result, Second
Chance, Inc. is providing the client with a false contemporaneous written acknowledgement of
the donation of building materials and personal property because the list Mark Foster is signing
does not represent the items salvaged. Also, the donation date Second Chance, Inc. provides is
prior to the date the items were salvaged. Clients are led to believe the R.S.Means list included
in the appraisal and the materials list signed by Mark Foster and attached to the appraisal are the
items salvaged from the deconstruction.

Although Second Chance, Inc. claims the list of salvaged items is compared to the R.S.Means
list and the appraiser removes any items that were not salvaged, this is not true. There were
items the clients decided to keep, i.e. washer, dryer, and storm door which are listed on the
R.S.Means list, and are listed on the contemporaneous written acknowledgement signed by Mark
Foster, therefore Mark Foster did not compare the lists and did not have the appraiser adjust the
appraisal however he still signed the R.S. Means list as "All Materials Received", even though
they weren't all received.

Second Chance, Inc. provides the clients with a contemporaneous written acknowledgement for
the cash and noncash charitable contributions. They are either signed by Mark Foster, Chief
Executive Officer, Spence Jeffries or Ryan Mariman of the Deconstruction Sales Team.

Mark Foster signed the Forms 8283 Part V as President of Second Chance, Inc. stating, "This
charitable organization acknowledges that it is a qualified organization under section 170 (c) and
that it received the donated property as described in Section B, Part I, above on the following
date...." The FMV in Part I would agree to the value in the qualified appraisal which is provided
to Second Chance and maintained in the client file. This value is from R.S. Means and not the
value of items actually salvaged which Second Chance, Inc. knew because lists of salvaged items
were never maintained and given to the appraiser.

The Agreement for Charitable Contribution includes language regarding the cash and noncash
charitable contributions. This agreement is signed by the Deconstruction Sales Manager and
Mark Foster at times, signs as the witness. Letters are provided to the clients recognizing the
cash and noncash charitable donations to Second Chance, Inc. and they are either signed by



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Mark Foster as Chief Executive Officer, Spence Jeffries or Ryan Mariman of the Deconstruction
Sales Team.

All the information included in the Tax Strategy Worksheet, Deconstruction Agreement (also
known as the Charitable Contribution Agreement), Pledge Agreement and Recognition of
Donation Letter was written by Second Chance, Inc. and over the years accountants and
attorneys provided suggestions. Mark Foster also spoke to persons at the Internal Revenue
Service to make sure the wording was correct in the Recognition of Donation Letter.

Second Chance, Inc. aided, assisted in, procured, or advised with respect to the preparation or
presentation of a federal tax return, refund claim, or other document. Forms 8283,
contemporaneous written acknowledgements, and Charitable Contribution Agreements were
signed by Mark Foster. Letters acknowledging the donation of the property were sometimes
signed by the Deconstruction Sales Team members. Second Chance Inc. and in particular, Mark
Foster was the author of these documents. Mark Foster also signed the list from R.S. Means
stating "All Materials Received".



Element #2: Who knows (or has a reason to know) that such portion will be used in connection
with any material matter arising under the internal revenue laws.

Second Chance, Inc. knew or had reason to know that the documents mentioned in Element # 1
and the statements regarding tax benefits would be used in connection with a material matter
arising under the internal revenue laws. A matter is material if it would have a substantial impact
on the decision-making process for entering into the transaction.

During discussions with potential clients, they were told and/or provided literature regarding the
deconstruction process and the tax benefits. This literature was prepared by Second Chance, Inc.
Clients were told that any noncash charitable contribution exceeding $ 5,000 required an
appraisal by an independent appraiser. Clients were informed in the Deconstruction Information
Guide that both a qualified appraisal and Form 8283 signed by the appraiser and Second Chance,
Inc. are needed to claim the noncash contribution deduction on their tax return.

Clients were given a "Tax Strategy Planning Worksheet" that explained the estimated tax
savings of donating their house and the net benefit to the donor after also pledging money to
Second Chance. The original Tax Strategy Planning Worksheet that was used was in generic
format using $200,000 for all the clients as the value of the house. Once the range of value of the
house was provided by the appraiser, then a different Tax Strategy Planning Worksheet was
prepared tailored to each clients' situation. The clients relied on the Tax Strategy Planning
Worksheet to determine if it was beneficial for them to deconstruct. This range of value was
determined as the house was situated on the land prior to deconstruction. In emails from Second
Chance, Inc. explaining the deconstruction process they state, "We ask that the donor shares a
portion of the tax benefit with us in the form of a cash donation made at the time that is in


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keeping with their tax strategy. In the vast majority of cases, the homeowner retains the lion's
share of the benefit, and all parties walk away having financially benefited for making an
environmentally and socially responsible choice".

The Agreement for Charitable Contribution signed by a member of the Deconstruction Sales
Team and sometimes witnessed by Mark Foster states, "Second Chance shall cooperate with
Owner and Green Donation Consultants in coordinating the documentation to evidence the
charitable contribution to Second Chance and for the Owner's federal and state income tax
returns, including coordinating with Owner and Green Donation Consultants in connection with
the preparation of an IRS compliant documentation packet required to take full advantage of the
available tax benefits for the improvement and the charitable pledge".

In the "Thank you for your donation" letter, Second Chance, Inc. states, "You should retain this
letter in your records for tax purposes. As you may be aware, the IRS no longer will accept a
canceled check as substantiation of a charitable contribution of $250 or more. This letter serves
to verify that you did not receive anything of value in exchange for your contribution. Therefore,
the entire value of your donation is tax-deductible". This letter is signed by Mark Foster, Chief
Executive Officer.

Clients were told they would be provided with a signed Form 8283 which they needed to claim
the noncash charitable contribution deduction. Also provided was a contemporaneous written
acknowledgement of the donation. Attached to the appraisals as Addendum AA is a list of
purported items salvaged and donated to Second Chance, Inc., signed by Mark Foster indicating
"All Materials Received". The contemporaneous written acknowledgement, donation receipt
and the Form 8283 signed by Mark Foster effect the understatement of liability which is a
material matter.

Statements regarding tax benefits are also a material matter and were given to clients either
through documents provided to them or in email communications. The emails were usually sent
by the Deconstruction Sales Team, and Mark Foster was cc'd on every email.

Other statements regarding tax benefits that were given to clients are as follows:

        "In summary, your house creates a tax deduction, which creates a tax savings or an actual
        refund of money to you. You will keep the larger portion of your tax savings/refund and
        provide funding for our training program which will be learning on your site, by pledging
        a portion of your savings/refund to Second Chance, Inc."

        Once Second Chance is involved in the deconstruction, a tax-deductible benefit comes
        relevant because you are supporting our workforce development training program."
        "I will create potential tax benefit scenarios and pledge options that assume a final
        appraised value that lands in the middle of the range provided by the appraiser."



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                                     Explanation of Items                                       Exhibit
  Name of Taxpayer                                                                              Year/Period Ended
                                                                                                 202012
    Second Chance, Inc.


    -    "If you would like to take advantage of the significant tax benefits associated with
         deconstructing a building, instead of demolishing it, call me to discuss our Funded
         Deconstruction Program."

    -    "Clients come to us with an interest in keeping items from the landfill and an interest in
         the significant tax benefits."

         An appraiser who specializes in materials appraisals will determine the value of the
         materials in your house. The appraisal value will determine your tax savings/deduction.

         The Deconstruction Sales Manager explained to the client that his charitable contribution
         deduction is limited to 50% of his adjusted gross income but he has 5 years to capture it
         in its entirety. He also stated, "The ' tax event' occurs as of the date indicated on the
         conveyance document you would sign. You should have no problem taking the
         deduction for the material in 2020". (Note: The deconstruction did not take place until
         2021).


Second Chance, Inc. aides and assists in the deconstruction process of homes for clients used in
connection with a material matter arising under the internal revenue laws. Mark Foster signs the
Form 8283 as President of Second Chance, Inc. and gives it the clients so it can be attached to
their federal income tax return. Second Chance, Inc. acknowledges the donation will result in a
tax deduction in the thank you letters to the clients and the clients are provided with their "Tax
Savings or Refund" amounts per the Tax Strategy Planning Worksheet. It is also mentioned on
the Second Chance, Inc. website, "Deconstruction generates generous tax savings from home
and material donations to Second Chance. That translates into cash in your pocket!"


Element #3: Who knows that such portion (if so used) would result in an understatement of the
liability for tax of another person.

Mark Foster met with IRS employees in Annapolis, MD in either 2010 or 2011 to discuss how
much of the house donation could be deducted as a noncash charitable contribution. He felt the
value of the entire structure could be deducted because it was used in the Second Chance, Inc.'s
training program. During these discussions he became aware that only the value of the salvaged
items was deductible. He said this reduced the charitable deduction by about 40%. Mark Foster
stated in his interview that whatever gets to the nonprofit organization is what is tax deductible
and since 2012, only salvaged items were valued.

The MANN v. United States court case was decided on 1/31/2019 and Second Chance, Inc.
performed the deconstruction services for Lawrence and Linda Mann. The court stated, "Rather,
as Second Chance's communications to the Maims reveal, the proper way to calculate a tax
deduction from this donation is based on the resale value of the specific building materials and
contents that ' we actually take away from the site' and that ' cross the threshold' of Second


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   Second Chance, Inc.


Chance's warehouse."

On behalf of Second Chance, Inc., Mark Foster signed Addendum AA of the appraisals as "All
Materials Received" even though he knew it did not represent the salvaged items. He signed the
Addendum as Founder & President of Second Chance, Inc. Second Chance, Inc. knew this
overvaluation would result in an understatement of tax liability. Mark Foster admitted the resale
value of the salvaged items doesn't even cover the payroll costs for deconstruction. He was
aware that the appraiser used the R.S. Means software to determine the current value of all the
components of the house less drywall, masonry, tile, mirror, prior to deconstruction. Based on
the Mann v. United States case and his discussions with the Internal Revenue Agents in
Annapolis, MD, Mark Foster admitted that the appraisals should have reflected the resale value
of the specific building materials and contents that crossed the threshold of the Second Chance,
Inc. warehouse. The list using the R. S. Means software was given to Second Chance, Inc. who
in turn recopied the list and signed it indicating that Second Chance, Inc. received everything
that was on the list. Second Chance, Inc. was aware that some rooms were valued as a whole
instead of each separate component since that is how they are reflected on the R.S. Means list
and copied over to the list signed by Mark Foster. Second Chance, Inc. also knew that the lists
of salvaged items that were kept were substantially incomplete. All the salvaged items were not
listed and the items that were listed were not adequately described as to what was salvaged and
the condition of the deconstructed items was not noted. No steps were taken by Second Chance,
Inc. to make sure complete lists of salvaged items were maintained listing the condition of the
items in their deconstructed state. Mark Foster admitted that these incomplete lists were not
given to the appraiser and the appraiser never saw the items in their deconstructed state.

The decision in the MANN case confirmed that there would be an understatement of tax liability
unless a deduction was claimed for only salvaged items. Second Chance, Inc. knew that
claiming a noncash charitable contribution deduction by the clients would result in an
understatement of tax liability. After the decision in the MANN case, no processes were put in
place by Second Chance, Inc. to track the condition of the items salvaged and ensure that only
salvaged items were valued. (Gard v. United States, 1992 WL 113456 (     N.D.Ga. 1992). The
deduction for salvaged and not salvaged items was still occurring for the clients Second Chance,
Inc. was helping to facilitate in tax year 2020.

Although Second Chance, Inc. did not determine the value of the donation, they were
aware the donation was overvalued which in turn would understate the client's tax liability.
Second Chance, Inc. did not provide an actual list of each deconstructed item and its "as-
deconstructed" condition to anyone. Mark Foster admitted the appraiser performed
the appraisals for 95% to 98% of the Second Chance, Inc.'s clients. He knew the appraiser used
the R.S. Means software which determines the fair market value of the property as it sits on
the land prior to deconstruction. The lists of salvaged items maintained by Second Chance, Inc.
did not list all the items salvaged, did not list the condition of the items in the deconstructed state
and they were not given to the appraiser or the client therefore Second Chance, Inc. knew the
appraiser was not valuing salvaged items. The appraiser did not see the items in their


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                                                                                                        202012
    Second Chance, Inc.


deconstructed state. It is Second Chance, Inc.'s responsibility to maintain correct lists of
salvaged items and their condition, and provide this list to the appraiser so the correct
components could be valued in their deconstructed state. This list from the R.S. Means software
was given to Second Chance, Inc. by the appraiser. After copying all the items word for word
from the R.S.Means list to a separate document, Mark Foster signed it as "All Materials
Received". The date on this document that he signed indicated the materials were received prior
to deconstruction. Second Chance, Inc. knew there was an overvaluation issue in these
transactions which resulted in an understatement of tax liability. The R.S. Means list and the
identical list signed by Mark Foster as Founder and President of Second Chance, Inc. were
attached to the appraisal as Addendum A and Addendum AA. Since the clients were told that
only salvageable items are valued, and the list attached to the appraisal was signed by Mark
Foster as "all materials received", the clients were lead to believe the lists identified only the
salvaged items.

There were instances where the client decided to keep some of the items, rather than
donating them. These items were listed on the R.S. Means list given to Second Chance, Inc. and
also on the list signed by Mark Foster which shows the value given to the client is the value
determined prior to deconstruction. For example, prior to deconstruction a client decided to keep
their washer and dryer and sent an email to both Second Chance, Inc. and Green Donation
Consultants to inform them of this decision. The R.S. Means list prepared prior to
deconstruction listed both the washer and dryer. The purported list of salvaged items signed by
Mark Foster as "All Materials Received", also listed the washer and dryer.

In another instance, a client's house had two storm doors and a neighbor wanted to have one of
them. The R.S. Means list prepared prior to deconstruction reflected two storm doors.
The client told Second Chance, Inc. that only one of the storm doors was being donated and said
the appraisal needed to be adjusted. The purported list of salvaged items signed by Mark Foster
as "All Materials Received", listed both storm doors.

Second Chance, Inc. was aware that the R.S, Means software values some rooms as a whole
instead of their individual parts. For instance, rather than valuing the toilet, sink and shower, the
bathroom is valued as a whole despite which components are actually salvaged. During one of
the deconstructions, Second Chance, Inc. found a box(es) of brand new faucets and asked Patrick
Smith to include them in the appraisal. The response provided by a Green Donation Consultant
employee was " The bathroom fixtures cannot possibly be added. As we have stated before, the
two sets of lines (4 total in this instance), already attributed to the bathrooms in the R.S.Means
more than cover all of the bathroom items. The bathroom values are $22,000 + $6,575 + $3,100
+ $15,741 ( the latter two specifically for fixtures) for a total of $47,416. Although I kind of
understand questioning the box of faucets, I cannot possibly add any more value for anything
bathroom related without drawing red flags." This confirms that Second Chance, Inc. knew
Patrick Smith was not valuing the components properly and the noncash charitable contribution
deduction would cause an understatement of tax liability. Second Chance, Inc. was aware of
everything that was discussed between clients and Second Chance because Mark Foster was cc'd


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   Second Chance, Inc.

on all emails whether they were sent to clients, Patrick Smith, or Green Donation Consultants.
As a result of the MANN case, Second Chance, Inc. was alerted and informed of problems with
not identifying a detailed list of salvaged items or any party making a valid attempt at
providing a condition for each of the donated items. This makes Second Chance, Inc. liable for
the penalty per IRC §6701. No action was taken to rectify the lack of specifically identifying the
salvaged items for the appraisals or identifying the condition of the salvaged items. Although the
appraisals stated that unless otherwise noted, all the items were in good condition, these can't be
relied upon because Second Chance, Inc. never maintained adequate lists of salvaged items and
their condition and it knew the appraiser never saw the items in their deconstructed state.
(Mattingly v. United States, 924 F.2d 785        Cir. 1991))
                                                (8th




Second Chance, Inc. was made known from the conclusion in the MANN case that a list of
salvaged items and their condition was required to be maintained so that only salvaged items
would be valued. Even though Mark Foster admitted that lists and conditions of salvaged items
were not maintained by Second Chance, Inc. and given to the appraiser, Second Chance, Inc.
assured customers that the purported tax benefits are available despite consistent rejection that
the appraisals needed to identify a specific list of the salvaged items including the condition of
these items in their deconstructed state. (United States v. Fisher, 2004 WL 489822 (N.D. Tex.
2004)

By providing the clients with a value not representative of the salvaged items, the clients claimed
noncash charitable contribution deductions which understated their tax liability.




TAXPAYER'S POSITION:

Not known at this time




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                                                                                                    202012
   Second Chance, Inc.

CONCLUSION:

The following clients are included in the calculation of the IRC § 6701 penalty. The penalty
amount per IRC §6701(b) is $ 1,000 per tax return.

       22 clients x $ 1,000 = $22,000

                                                                            Did
                                                                         Appraised
                                                                           Value
                         Estimated               Final                 Incorporate
       Name            Value Prior to          Appraisal                     the                 Exhibit
                       Deconstruction            Value                 Condition &
                                                                       Detailed List
                                                                        of Salvaged
                                                                           Items?
                          160,000 to
                                                 176,000                       No                    27
                           190,000
                          220,000 to
                                                 236,000                       No                    28
                           250,000

                           115,000               117,500                       No                    29

                          140,000 to
                                                 153,000                       No                    30
                           160,000
                          135,000 to
                                                 148,500                       No                    31
                           165,000
                          145,000 to
                                                 161,000                       No                    32
                           165,000
                          165,000 to
                                                 183,000                       No                    33
                           195,000
                          280,000 to
                                                298,000                        No                    34
                           300,000
                          145,000 to
                                                 157,000                       No                    35
                           175,000

                           285,000              291,000                        No                    36

                          Unknown                170,500                       No                    37

                           255,000              240,500                        No                    38

                           190,000               193,000                       No                   39



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   Second Chance, Inc.


                                                                             Did
                                                                         Appraised
                                                                            Value
                         Estimated               Final                  Incorporate
Name                   Value Prior to          Appraisal                      the                 Exhibit
                       Deconstruction            Value                  Condition &
                                                                        Detailed List
                                                                         of Salvaged
                                                                            Items?
                          190,000 to
                                                 203,000                        No                   40
                           220,000

                           125,000               139,000                        No                   41

                          Unknown                139,000                        No                   42

                          145,000 to
                                                 168,000                        No                   43
                           175,000

                          Unknown                155,000                        No                   44

                           380,000               381,000                        No                   45

                           245,000               250,000                        No                   46

                          180,000 to
                                                 189,000                        No                   47
                           210,000
                          270,000 to
                                                 284,000                        No                   48
                           300,000



Second Chance, Inc. aided, assisted in, procured, or advised with respect to the preparation or
presentation of a federal tax return, refund claim, or other document. During the deconstruction
process, the clients are provided with Tax Strategy Planning Worksheets and Deconstruction
Information Guide. They are required to sign an agreement executing a binding charitable
pledge and an agreement to donate the components of the house that are salvaged. These
documents were written by Second Chance, Inc., in particular, Mark Foster. These agreements
are signed by either Mark Foster or a member of the Deconstruction Sales Team. The letters sent
to the clients acknowledging the cash and noncash charitable contributions were written by
Second Chance, Inc. and Mark Foster signed them as President and CEO of Second Chance, Inc.
Second Chance, Inc. instructed the clients that in order to claim a charitable contribution
deduction on their tax return, a qualified appraisal was needed. Clients were also told a Form
8283 needed to be attached to their tax return when claiming the charitable contribution
deduction. The Form 8283 was signed by Mark Foster as President of Second Chance, Inc.



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   Second Chance, Inc.



A matter is material if it would have a substantial impact on the decision-making process for
entering into a transaction. Second Chance, Inc. knew statements regarding tax benefits would
be used in connection with a material matter arising under the internal revenue laws. The
information provided, the agreements signed, and the emails sent to clients during the
deconstruction process all contained numerous statements regarding tax benefits. A Tax
Strategy Planning Worksheet created by Mark Foster was also tailored to each client using the
initial range of value provided by the appraiser prior to deconstruction so the client could decide
if it was in their best interest to follow through with the deconstruction process. In the emails to
clients there were numerous statements regarding tax benefits. For example, "In summary, your
house creates a tax deduction, which creates a tax savings or an actual refund of money to you".
"If you would like to take advantage of the significant tax benefits associated with
deconstructing a building, instead of demolishing it, call me to discuss our Funded
Deconstruction Program". Second Chance, Inc. was aware of these tax benefit statements in the
emails to clients because Mark Foster was cc'd on all emails. This information was critical in
the client's decision to move forward with the deconstruction process.

Second Chance, Inc. was aware that claiming the noncash charitable contribution deduction
would understate the tax liability of the client. Second Chance, Inc. created the Tax Strategy
Planning Worksheet that showed the client how much money they would save in taxes by
deconstructing their house and claiming a noncash charitable contribution deduction. Second
Chance, Inc. was aware that the value provided to the client by the appraiser was overvalued.
Mark Foster admitted that Second Chance, Inc. did not keep lists of the salvaged items, no list or
condition of items was ever provided to the appraiser, and the appraiser never saw the
deconstructed items. As a result, the value given to the client was based on the value determined
as the house was situated on the land prior to deconstruction. This final value always fell within
the initial range of value given to the client prior to deconstruction.

The MANN v. United States court case was decided on 1/31/2019 and Second Chance, Inc. was
the deconstruction company. Lawrence and Linda Mann had their residence deconstructed by
Second Chance, Inc. and claimed a noncash charitable contribution deduction. The deduction
understated their tax liability, the court ruled in favor of the Internal Revenue Service, and the
deduction was denied. The noncash charitable contribution deduction was disallowed because
the taxpayers failed to prepare or secure descriptions of the specific property salvaged and
donated to Second Chance and failed to provide a valuation of the deconstructed items at the
time of donation. The deduction for salvaged and not salvaged items was still occurring for the
clients Second Chance was helping to facilitate in tax year 2020.

The three elements of IRC § 6701 have been met therefore Second Chance is liable for the
penalty.




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   EXHIBIT D
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              MILES &
h     A STOCKBRIDGEp.c.
    Thomas J. O'Rourke
301-517-4821
    torourke@milesstockbridge.com




    February 15, 2021

    Ms. Donna Lamonna
IRS
228 Walnut Street                          Sent via fax to 888-850-0320
Pfl. Box 866
1-larrisburg, PA 17108


Re:        Mark Foster/Second Chance, Inc.

Dear Ms. Larnonna:

This letter is in response to your letter dated January 29, 2021 to my client, Mark Foster.

I have enclosed Forms 2848, powers of attorney, authorizing me to represent both Mr. Foster and
his employer, Second Chance, Inc. As your letter requests, we suggest that we arrange a meeting
to discuss the issues addressed in your letter. Please call me at your convenience to discuss such
a meeting.

We ask the IRS to reconsider its decision to initiate this examination for the reasons set forth in
this letter. Two similar examinations related to this issue have been resolved on the basis that
Second Chance is a charitable organization described in Code § 501(c)(3)' and that it is not
involved in promoting improper tax avoidance transactions. Moreover, a recent decision in
Mann v. United States, 364 F, Supp. 553 (0. MD 2020) afPd at 127 AFTR 202 1-477 (4th Cir.
2021), the Court specifically found that a contribution to Second Chance was a permissible
deduction to a Section 501 (c)(3) organization. These matters are discussed in succeeding
sections of this letter.

Your letter is to Mr. Foster in his individual capacity. You may or may not be aware that he is
the President and Chief Executive Officer of Second Chance. The only matters addressed in the
information documents request (IDR) attached to your letter that he has personal knowledge of
are items 1-5, to the extent they exist. Second Chance does have records for many of the
remaining items listed, but these records are not in the personal possession of Mr. Foster.




           All references to Code refer to the Internal Revenue Code, 26 U.S.C.



      11 N. WASHINGTON STREET, SUITE 700          I   ROCKVILLE, MD 20850-4276    I   301.762.1600     I   milesstockbridge.com
                    FJALT?MORL, MD   EASTON. MD   FREDR'CK '   .     VA . TYSONS CORNIR, VA   WASHINCTON. D.C.
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                                                                                     A. STOCKBRIDGE                 p.c.


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IRS Examination 2012-2017

The IRS initiated an examination of Second Chance in 20 2 that encompassed income and
employment tax issues, and an investigation of whether Second Chance's exemption under Code
Section 501(c) (3) should be revoked. The initial investigation took more than two years and
during this time, the examining agent was provided with virtually all of the information
requested in your IDR, but for earlier tax years.2

The examining agent (Mr. Walker) proposed numerous adjustments. All of the proposed
adjustments have been resolved as a result of appeals to IRS Appeals Division and to the US Tax
Court.

This examination also resulted in an erroneous determination that Second Chance's exemption
under Section 50 1(c) (3) should be revoked. The examining agent characterized Second Chance
of being in the business of generating false deductions, running a quid pro quo program, and
promoting a scam.

The taxpayer appealed this determination and submitted the response attached as Exhibit 1 to this
letter. After considering the taxpayer's position, Appeals rejected the examining agent's
determination and found as follows: "We have determined that the organization's exemption
from tax as an organization described in Internal Revenue Code ("Code") section indicated
above (Section 50l(c)(3)) remains in effect. A copy of the Appeals determination dated March
23, 2017 is enclosed as Exhibit 2 to this letter.

IRS Examination 2015-2016

While the appeal of the examination initiated in 2012 was being considered, IRS initiated
another examination involving the identical issues mentioned in your letter. We have attached a
copy of the examination notification and the IDR issued as part of that investigation as Exhibit 3.
The undersigned met with the examining agent (Mr. Volpe) and IRS Counsel (Ms. Henn) in
March 2015 and provided the attached letter dated March 5, 2015 outlining Second Chance's
position. After the initial meeting, the undersigned communicated with Mr. Volpe on a periodic
basis and submitted information requested in the IDR. The last communication with him was in
a letter dated March 31, 2016 in which I sent him certain information he had requested. After
this March 31, 2016 letter, Second Chance heard nothing further from the IRS.




2
          The only material difference is that the culTent examination seeks information about later years. While
different donors were involved in the earlier examination, the underlying program's operation has been the
substantially the same with minor changes to keep pace with the evolving legal landscape.
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                                                                                 A. STOCKBRIDGE                   .c


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Court Cases Involving Second Chance Donors

There have also been two recent court cases involving Second Chance donors, Loube v.
Commissioner, IC Memo 2020-3(2020) and Mann v. United States, 364 F, Supp. 553 (D. MD
2020) aff'd at 127 FTR 202 1-477 (4th Cir. 2021).

The Mann case is relevant to the issues in your examination. Specifically, in Mann, the IRS
argued that certain cash contributions were not deductible because these contributions were a
quid pro quo made to pay for deconstruction services. The Court specifically rejected this
argument and held that, "Because the record establishes no benefit to the Mann's from Second
Chance's deconstruction services..., the Court concludes that the cash donations were not a
quid pro quo but were instead properly deductible."4

Summary and Conclusion

Based on the above discussion, we respectfully request that you discontinue your proposed
examination. The identical issues identified in your letter were examined by IRS in the 20 12-
2017 and the 2015- 2016 examinations. In the earlier examination, the IRS concluded that
Second Chance was properly classified as a Section 501(c) (3) organization. Moreover, after the
taxpayer produced the virtually identical information (at considerable expense) you are now
requesting, the IRS decided not to pursue the 2015-2016 examination. Finally and perhaps most
significantly, the court that will have jurisdiction over any determination you may make has
expressly found that cash contributions to Second Chance are properly deductible charitable
contributions.

We welcome the opportunity to discuss these matters with you. We do wish to note that much of
the information you are requesting in your IDR is identical to the information provided in prior
examinations. We respectfully request that you retrieve this information from records in the
possession of the IRS.

We intend to cooperate in this matter and will provide any information in the taxpayer's
possession that has not previously been provided if you decide to proceed with this investigation.
It may take some time because of the work restrictions that have been imposed because of the
covid-19 pandemic. We will not be able to provide this information by the March 1, 2021
deadline mentioned in the IDR.




         The Court in Loube disallowed the taxpayer's deduction because he failed to satisfy the substantiation
requirements of Code §170. There was no discussion of Second Chance's activities and this case has no relevance
to your present inquiry.
         A contribution is only properly deductible if made to a Section 501(c)(3) organization
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                                                                   k A. STOCKBRIDGE
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I look forward to discussing this matter with you at your convenience.



Sincerely,


Thom     J. O'Rourke

Enclosures

cc:      Mark Foster
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Form.      2848             I                            Power of Attorney                                                                0MB No 1545-0150
                                                                                                                                           For IRS Use Only
                                                  and Declaration of Representative
                            I
 ev. January 2021)
                                                                                                                                         Received by:
                                           ' Gold www,Ira.govJForm2848 fur instructions and the latest Information.                      Name ______________
iiI Power of Attorney
                                                                                                                                                      j
                                                                                                                                                                   C
                                                                                                                                         Telepitono
                 Caution: A separate Fort 2848 must be compLeted Ioreachtattpayer. Form 2848 wilt not be.honored                         Ftrnotbn_
                 for any purpose ther thai r resentat1pn be ore the IRS.                                                                 Date               /
  1        Taxpayer Information. Taxpayer must Sign and date this form on page 2, One 7.
Taxpayer name and address                                                                 Taxpayer Identification number(s)
Second Chance, Inc.
1700 Ridgely Street                                                                       Daytime teieptone number             Plan number (If applicable)
Baltimore, MD 21220
hereby appoints the following representative(s) as attomey(s)-in-lact:
  2   Reproeenlative(al must sian and date this form on eeoc 2. Part ii.
Name aid address                                                                            CAF No.                      2605.40113
Thomas J. ORourke                                                                            PuN
11 N.Washlngton Street: Suite 700                                                           Telephone No.                3015174821
Rockvilie, MD 20880                                                                                                   3014417992
                                                                                             Fax No.
Check It to be sent copies of notices and communications             EJ          Check If new Address 0            Telephone No. 0              Fax No. 0
Name and address                                                                             OAF No.
                                                                                             PTIN
                                                                                             Telephone No.      -----
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Check If to be sent copies of notIces and communications             fl          Check If new: Address 0           Telephone No. 0           - Fax No. D
Name and address                                                                             OAF No.
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                                                                                            Telephone No.
                                                                                            FaxNo.
(Not.: IRS sends notices and communications to only two representatives.)        Check If new: Address D           Telephone No. U              Fax No. 0
Name and address                                                                             CAF No.


                                                                                            Telephone No.
                                                                                             Fax No.
(Note: IRS sends notices and communications to only two representatives.) Check if new: Address 0                 Telephone No. 0               Fax No. 0
to represent the taxpayer before the Internal Revenue Service and perform the foowing acts:
  S        Acts authorized (you are requtred to complete line 3). Except for the acts described in line 5b, i authorize my representative(s) to receive and
           inspect my confidential tax infom,ation and to perform acts I can perform with respect to the tax matters described below. For example, my
           representative(s) shalt have the authority to sign any agreements, consents, or slmlar documents (see instructions for line 5a for authorizing a
           representative to 8k),, a return).
 Description of Matter (Income, Employment, Payroll, Excise, Estate, Gift,               Tax Form Number                    Year(s) or Period(s) (if applicable)
  Whistleblower, Practitioner Discipline, PLR, FOIA, Civil Penalty, Sec          (11)40 941, 720, etc.) f applicable)               (see instructions)
     4980H Shared Responsibility Payment etc.) (see instructIons)                                                          __________________________
Clvii PenaltIes                                                                                  NA.                           2016,2017,2018,2019,2020




  4        SpecifIc use not recorded on the Centralized Authorization File (OAF). If the power of attorney IS TOT 8 speCrnC use not recoraea on
           CAF, check this box. See Line 4. Specific Use Not Reco,tied on CAF in the instructions

      Se   Additional ects authorized. In additIon to the acts listed on One 3 above, I authorize my representative(s) to perform the following acts (see
           instructions for line 5a for more Information): 12J Access my IRS records via an Intermediate Service Provlder
           oAuthorize disclosure to third parties:            Substitute or add representative(s); 0 Sign a return;       _________________________




           U Other acts authorized:


                                                                                                       Cat. No. I IB0J                   Form 2848 (Rev. 1.2021)
 For Priveoy Act and Paperwork Reduction Act Notice, see the instructions.
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Form 2848 (Rev. 12021)                                                                                                                                        Page 2

    b     Specific acts not authorized. My representatIves) Is (are) not authorized to endorse or otherwise negotiate any check ncIuding directing or
          accepting payment by any means, electronic or otherwise, Into en account owned or controlled by the representative(s) or any firm or other
          entity with whom the representative(s) Is (are) associated) issued by the government In respect of a federal tax liability.
          List any other specific deletions to the acts otherwise authorized In this power of attorney (see instructions for line 5b):


   6       Retentionlrevocatlon of prior powers) ut attorney. The filing of this power of attamay automatically revokes all earlier power(s) of
           attorney on file with the Internal Revenue Service for the same matters and years or periods covered by this form. If you do not want to
           revoke a prior power of attorney check here       ............................D
           YOU MUST ATTACH A Co                    0       NY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.
   7       Taxpayer declaration and gnatura. If tax matter concerns a year In which a joint return was filed, each spouse must file a separate power
           of attorney even if they   appointing    same representative(s). If signed by a corporate officer, partner, guardian, tax matters partner,
                 orsliip representat (or designate individual, ii applicable), executor, receiver, administrator, trustee, or individual other than the
                 ayer, i certify1i have he legal authorl   to execute thIs form on behalf of the taxpayer.
                IF NOT CoC             0, SIGNED, ND DATED, THE IRS WiLL RETURN THIS POWER OF ATTORNEY TO THE TAI(PAYER.


                                  ....
                                Signa ure                                          Data                                       Titie (If applicable)
Mark S. Foster          -                              --                   Second Chance, INC

                               Print name     -                                               Print name of taxpayer from line 1 if other than individual
                  Declatatlon of RepresentatIve
Under penalties of perjury, by my signature below I deciare that:
I am not currently suspeilded or disbarred from practice, or Ineligible for practice, before the internal Revenue Service;
I am subject to regulations in Circular 230(31 CFR, Subtitle 4A Part 10), as amended, goveming practice before the Internal Revenue Service;
 I am authorized to represent the taxpayer identified In Part I for the matter(s) specified there: and
 I am one of the following:
   a Attorney -a member In good standing of the bar of the highest court of the jurisdiction shown below.
  b Certified Public Accountant -a holder of an active license to praøtice as a certified public accountant in the Jurisdiction shown below.
  o Enrolled Agent -enrolled as an agent by the IRS per the requirements of Clrciiar 230.
  d Officer -a bona tide officer of the taxpayer organization.
  a Futi-Time Employee -a full-time employee of the taxpayer.
        Family Member -a member of the taxpayer's Immediate family (spouse, parent, child, grandparent, grandchild, step-parent. step -child, brother, or sister).
  g Enrolied Actuary -enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the authority to practice before
    the IRS is iimlted by section 10.3(d) of Circular 230).
  h Unenrolied Return Preparer-Authority to practice before the IRS is limited. An unenroiled return preparer may represent, provided the preparer (1)
    prepared and signed the return or claim r refund (or prepared if there Is no signature space on the form); (2) was eiigibie to sign the retirn or
    claim for refund; (3) has a valid PT1N; and (4) possesses the required Annual Fling Season Program Record of Completion(s). See Special Rules
        and Requirements for Unenrolled Return Preparera in the Instructions for additional information.
   k Qualifying Student or Law Graduate -receives permission to represent taxpayers before the IRS by virtue of hisfher status as a law, business, or
     accounting student, or law graduate working In a LITC or STOP, See Instructions for Part ii for additional information and requirements.
        Enrolled Retirement Plan Agent -enrolled as a retirement plan agent under the requirements of Circular 230 (the authority to practice before the
        Internal Revenue Service is limited by section 10.3(e)).
         iF ThIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THE
        POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER LISTED IN PART I, LINE 2.
          Inr rnne4infl e4f enter your tltla       nositlnru or miatlonahin to the taxoaver in the LicensinQ iurlsdlctlon" coiumn.

                        Licensing jurisdiction' -. Bar, ilcense. certification,                                                           ________ __________
  Designation-                                                                            -

                            (State) or other       registration, or enrollment                                   Signature                                  Date
   insert above
                          licensing authority        number (If applicabie)
    letter (a -r).
                             (It applIcable)                                                                                                            _____________


            a                  DC, MD                        385888
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 _________________                                                                                                                                           -,   I    I
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Form    2848    -
                                                       Power of Attorney
                                                                                                                                             Fot IRS Use Only
(Rev. January 2021)                            and Declaration of Representative
Department of lite Treasury
Internal Revenue service                ' Go to wwwJrs.gov/Form2848 for lnstnjcllons and the latest Information.                           Name
                Power otAttorney                                                                                                           Telephone
                Cautlom A separate Form 2848 must be completed for each taxpayer. Form 2848 wHI not be honored                             Function__________
                for ny pL&rpose other tlan representation before the IRS.                                                                  Date         /        /
   1     Taxpayer lnfcrrnetion. Taxpayer must sign and date this form on page 2, One 7.
Taxpayer name and address                                                               Taxpayer identification number(s)
Mark Foster
600 East Seminary Avenue                                                                Daytime telephone number                 Plan number (If applicable)
Towson, MD 21206
hereby appoints the following representative(s) as attomey(s)-ln.fact
   2     RepresentatIve(s) must sign and date this form on page 2, Part ii.
Name and address                                                                           CAP No.                        2605-40113
Thomas J, O'Rourke                                                                         PuN                    -
11 N.Washlngton Street; Suite 700                                                          Telephone No.                     301.517-4821
Rockvlile MD 20850                                                                         Fax No.                        ..01-841.7992
Check if to be sent copies of notices and communications            El          Check if new: Address                 Telephone No.   0           Fax No.    0
Name and address                                                                           CAF No.
                                                                                           PTiN
                                                                                           Telephone No.
                                                                                           Fax No.
Check if to be sent capita of notices and communIcations            0           Check if new: Mdress          0       Telephone No.   0           Fax No.    0
Name and address                                                                           CAF No.
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(Note: IRS sends notices and commisications to only two reesentatives.)         Check if new: Address         0       Telephone No.               Fax No.    0
Name and address                                                                           CAF No.
                                                                                           PT1N

                                                                                           Telephone No.
                                                                                         Fax No.
(Note: IRS sends notices and communications to only two representatives.) Check If new: Address               U       Telephone No.   U           Fax No.    0
to represent the taxpayer before the Internal Revenue Service and perform the following acts:
   3     Acts authorized (you are required to complete line 5). Except for the acts described in line 5b, I authorize my representatives) to receive and
         Inspect my confidential tax Information and to perform acts I can perform with respect to the tax matters described below. For example, my
         representative(s) shall have the authority to sigi any agreements, consents, or similar documents (see instructions for line 5a for authorizing a
         representative to sign a return).

 Description of Matter (Income, Employment, Payroll, Excise, Estate, Gift,
                                                                                       Tax Form Number                        Year(s) or Period(s) (If applIcable)
  Whistleblower, Practitioner Discipline, PL.R, FdA. Civil Penalty, Sec.
                                                                               (1040,941, 720, etc.) (if applicable)                  (see Instructions)




                                                                                                                      ..)
     4980H Shared Responsibility Payment, etc.) (see Instructions)
Civil Penalties                                                                                N.A.                             2016,2017,2018,2019,2020




   4     Specific use not recorded on the Centralized Authorization FIle (CAF). if the power of attorney is for a specific use not recorded on
         CAP, check this box. See Line 4. SpecIfic Use Not Recorded on CAF in the Instructions .          .       .                                                  Li

   5a    Additional acts authorized. In addition to the acts listed on line 3 above, I authorize my representative(s) to perform the following acts (see
         Instructions for line 5a for more information):    Access my IRS records via an intermediate Service Provider;
         0  Authorize disclosure to thd parties           ] Substitute  or add representative(s);    0  Sign a return;




         Li Other acts authorized:



For Privacy Act and Paperwork Reduction Act Notice, see the Instructions.                            Cat. No. i1980J                      Form O'+O         lev. i-ui
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Fomi2848(Rev.1.2021)                                                                                                                                   Page2
      b     Specific acts not authorized. My representative(s) is (are) not a.ithorlzed to endorse or Otherwise negotiate any check (lncidIng directing or
            accepting payment by any means, electronic or otherwise, Into an account Owned or controlled by the representative(s) or any firm or other
            entity with whom the representative(s) Is (are) associated) issied by the government in respect of a federal tax liability.
            List any other specific deletions to the acts otherwise authorized h this power of attorney (see instructions for line 5b):


  6         Retention/revocatIon of prior power(s) of attorney. The filing of this power of attorney automatically revokes all earlier power(s) of
            attorney on file with the internal Revenue Service for the same matters and years or periods covered by this form. if you do not want to
            revoke a prior power of attorney, check here    ...........................                                                                      0
            YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.
   7        Taxpayer declaration and signature. if a tax matter concerns a year In which a Joint return was flied, each spouse must file a separate power
            of ttorney even If they are appol      g he same representative(s). if dgned by a corporate officer, partner, guardian, tax matters partner,
            p    ership representative (or d ignate indMduai, if applicable), executor, receiver, administrator, trustee, or indMduai other than the
               ayer, i certify I have the leg authori to execute this form on behalf of the taxpayer.
                   NOT COMPED, SI NED, A D DATED, THE IRS WILL RETURN THIS POWER OF ATTORNEY TO THE TAXPAYER.


                                      nature                                     Os a                                 l'itle flf applicable)
MarkS.           ster   -


                                  Print name                                            Prin name of taxpayer fron line ---other than Indfivkjat-.
            Ij Declaration of fleptesentatfve
 Under penalties of perjury, by my signature below I declare that:
  I am not currently suspended or disbarred from practice, or ineligible for practice, before the Internal Revenue Service;
 i am subject to rejiatlorts In Circular 230 1 CFR, Subtitle A, Part 10), as amended, governing practice before the internal Revenue Service;
  I am authorized to represent the taxpayer Identified In Part I for the matter(s) specified there; and
 I am one of the following:
   a Attorney- a member In good standIng of the bar of the highest court of the jurisdiction shown below.
   b Certified Public Accountant-a holder of an active license to practice as a certified public accountant in the jrisd1ction shown below.
   o Enrolled Agent-enrolled as an agent by the IRS per the requirements of Circular 230.
   d Officer-a bona tide officer of the taxpayer organization.
  o Eu fl -Time Employee-a fuli-time employee of the taxpayer.
  f Family Member-a member of the taxpayer's immediate family (spouse, parent, Child, grandparent, grandchild, step-parent, step -child, brother, or sister).
  g Enrolled Actuary-enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the authority to practice before
    the IRS is iimed by section 10.3(d) of Ccular 230).
  h Unenrolled Return Preparer-AuthorIty to practice before the IRS Is limited. An unenrolied return preparer may represent, provided the preparer (1)
    prepared and signed the return or claim for refund (or prepared If there is no signature space on the form); (2) was eligible to signthe return or
    claim for refund; (3) has a valid PT1N; and (4) possesses the requIred Annual Filing Season Program Record of Completion(s). See Special Rules
       and Requirements for Unenrolled Rett*n Preparers In the Instructions for additional information.
  k Qualifying Student or Law Graduate-receives permission to represent taxpayers before the IRS by virtue of his/her status as a law, business, or
    accounting student, or law graate working In a LITC or STCP. See instrLJtions for Part II for additional information arid requirements.
          Enrolled Retirement Plan Agent-enrolied as a retirement plan agent under the requirements of CIrcular 230 (the authority to practice before the
          Internal Revenue Service is limited by section 10.3(8)).
       P IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THE
       POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER USTED IN PART I, UNE 2.
Note: For designations d-(, enter your title, position, or relationship to the taxpayer In the 'Licensing jurisdiction" column.
                        Licensing Jurisdiction    Bar, license, certification,
  Deslgnaticn-
   insert above
                             (at0) or other       registratIon, or enrollment                             Signature                                  Data
                            licensing authority
    letter (a -r)                                   number f applicable)
                               (it applicable)


             a                   DC, MD                     385888               ciYoj1.         tv4-




                                                                                                                                         Form 2848   ev. 1-2021)
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Thomas J. O'Rourkc
301-517-4821
torourke@milesstockbridge.com



July 6, 2016

Ms. Kim Thoa Nguyen
IRS San Jose Appeals, MS -7100
55South Market Street; Suite 440
San Jose, CA 95113


Re:      Second Chance, Inc.

Dear Ms. Nguyen:

This letter is written in follow-up to the Appeals conference we had with you on May 26, 2016
regarding Second Chance, Inc. ("Second Chance"). The sole purpose of this letter Is to address
the examining agent's position that the exemption granted to Second Chance pursuant to Code
§501(c)(3)' should be revoked. The remaining issues and the additional information you
requested regarding other issues raised in the examination report will be provided in a
subsequent submission.

The Examining Agent's Position

The examining agent concluded that the exemption granted to Second Chance in 2001 by the
IRS should be revoked. The discussion of this matter in the examination report involves three
separate matters: a summary of interviews with not for profit executives in the Baltimore area;
an edited version of comments made supposedly made by persons formerly affiliated with
Second Chance; and the tax benefits claimed by Second Chance donors. There is no discussion
of Second Chance's exempt purpose or of any failure to act in furtherance of this exempt
purpose.

The agent's reference to comments made by executives from other tax exempt entities in the
Baltimore area is quite puzzling. Whatever these executives may or may not do in their
organizations has absolutely no relevance to Second Chance and its exempt status. Moreover,
there is not even a suggestion that any of the executives mentioned had any knowledge of
Second Chance or how it was operated. This discussion is simply a waste of time and offers no
insight into the resolution of the underlying issue.

The heavily edited comments of persons who may at one time have been affiliated with Second
Chance are of questionable relevance. These comments do not address Second Chance's exempt

         All references to Code refer to the Internal Revenue Code of 1986, as amended, 26, U.s C.
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purpose or what efforts were undertaken in furtherance of this exempt purpose. Rather, they
relate solely to what Second Chance did or did not do to determine the tax benefits available to
donors. Perhaps most significant, however, is the fact that comments attributed to some of these
individuals are factually incorrect. Some of the individuals quoted simply deny the accuracy of
the agent's characterization of their remarks.

The agent does spend a considerable amount of time discussing the tax benefits claimed by
Second Chance donors. His position seems to be that it is more beneficial for society to pay for
an individual's incarceration than to allow a tax benefit for donation to an organization that
provides gainful employment to the individual. The ability to obtain tax deductible contributions
is one of the primary incentives for seeking 501 (c)(3) status. Congress has specifically provided
tax benefits for contributions to an organization that engages in socially desirable activities. It is
impossible to determine whether Second Chance has failed to act in accordance with its exempt
purpose without discussing what this exempt purpose is and whether its actions have been in
furtherance of its exempt purpose.

The examining agent characterizes Second Chance of being in the business of generating "false
deductions", running a "quid pro program" and promoting a "scam". Ironically, Second Chance
and its donors have been closely scrutinized by the IRS since its initial establishment. Other
IRS personnel in the Examination and Appeals Divisions have consistently concluded that
the activities characterized by the examining agent as "false deductions", a "quid pro
program" and a "scam" are perfectly permissible activities under the Code. A summary
discussion of the conclusions reached by other IRS personal may be found at pp. 4-7, infra.

An Overview of Second Chance and its Activities

The threshold issue in the present case is whether the exemption granted to Second Chance
should be revoked. Resolution of this issue requires a consideration of what its exempt purpose
is and whether it has been acting in furtherance of this exempt purpose. As noted above, it is
impossible to determine whether Second Chance has failed to act in accordance with its exempt
purpose without discussing what it has done and whether its actions have been in furtherance of
its exempt purpose. This complete failure to even mention Second Chance's exempt activities
suggests the agent made no effort to objectively evaluate the organization

Second Chance was organized in 2001 as a nonprofit organization that provides people,
materials, and the environment with a "second chance." We have attached a description of how
it carries out its exempt purposes taken from the organization's web site as Exhibit A. The
Second Chance mission is to retrain and create employment for displaced and unemployed
workers in deconstruction methods; reclaim building material to reduce demolition debris
overloading landfills; and renew materials to preserve the region's rich architectural heritage.
Second Chance provides jobs and a green collar workforce, protects the natural environment, and
preserves our architectural heritage.
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 We have attached materials from the websites from the US Environmental Protection Agency
(Exhibit B) and from the US Department of Housing and Urban Development (Exhibit C) that
encourage the use of programs such as those adapted by Second Chance. We have also attached
materials from a variety of organizations and publications that use methods similar to those
employed by Second Chance or that describe the benefits the benefits of deconstruction
programs (Exhibit D).

Second Chance was founded in 2001 and developed an employment and training program in
2003 to address the pressing needs of Baltimore City residents facing multiple challenges in
finding employment.

As a testament to the effectiveness of the Second Chance mission, the organization has been the
subject of numerous press reports and has received awards and recognition on multiple levels.
These include, among others: the "Baltimore Regional Workforce Innovations Award" awarded
by the Baltimore Workforce Investment Board and the Baltimore County Workforce
Development Council; the "Enoch Pratt Community Award" presented by The First Unitarian
Church of Baltimore; the "City of Baltimore CertjfIcate of Recognition" in recognition of Second
Chance's outstanding service to the Operation Safe Kids Program and Baltimore City youth; an
"Official Citation" from Senator Vema L. Jones of the 44th Legislative District, Baltimore City,
and from Delegate Salima Siler Marriott, Chair of the Baltimore City Delegation, in recognition
of enhancing the region's economic and workforce development; a "Mayor's Letter of
Appreciation" from Mayor Martin O'Malley; and the "Mayor'c Business Recognition Award"
from the Greater Baltimore Committee and the Baltimore Development Corporation.

Most recently, Senator Benjamin Cardin has recognized the effectiveness of the Second Chance
program. Specifically he stated:

         "It never ceases to amaze me what people can do when given even the smallest glimmer
         of hope, and I saw the transformative power on display at Second Chance. If you want to
         see people from some incredibly challenging backgrounds turning their lives around, visit
         them in South Baltimore. Second Chance isn't only equipping people with the skills
         needed for their 'green collar' jobs, it is helping communities renew themselves"

         "If we want to reduce recidivism and truly allow people to re-establish their lives after a
         criminal conviction, we must allow Americans who have served their time to re -integrate
         fully by seeking gainful employment in our communities. That's what Second Chance
         does for Baltimore, providing job training and real world opportunities for its staff. Along
         the way they learn a number of fundamental life skills and develop professional
         references, a first for many. The importance of these things to someone trying to re-enter
         society is difficult to overestimate."

A copy of Senator Cardin's statement is attached as Exhibit E and a video of these remarks may
also be viewed on the Second Chance website (www.secondcbanceinc.org.). In addition the
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website includes a description of the many public serve awards made to Second Chance for its
activities in support of its exempt purpose.

Second Chance is able to carry out its mission because of the support of its donors who have
contributed buildings, materials, and money to support its exempt purposes. Because the IRS
has granted an exemption to Second Chance under section 501(c) (3) of the Code, donors are
entitled to claim a tax deduction for the value of any property contributed to Second Chance.

IRS Examination of Second Chance Donors

For the periods prior to 2011 a number of Second Chance donors were examined by the IRS and
the valuation of the property contributed by these donors to Second Chance was questioned. A
number of cases resulted in the taxpayers' receipt of a "no change" letter, indicating that the IRS
accepted the donation to Second Chance as perfectly permissible under the tax code. While
Second Chance has not been a party to any of these actions, it has been advised that all IRS
examinations initiated prior to 2013 were resolved amicably between the donors and the IRS.

An issue in any IRS examination of a Second Chance donor typically involves the valuation of
any materials or structure that has been donated. Most individuals who donated buildings prior to
2012 valued their donations by determining the value of the property before and after the
donation and claiming the diminution in value of the property as the charitable contribution, or
utilized a qualified real estate appraiser to determine the contributory value of the structure being
donated. See the attached Exhibit F 2

In the middle of 2012, Second Chance was advised that the IRS changed the standard it would
apply to Second Chance donations. On July 17, 2012, Mark Foster (the President of Second
Chance) was summoned to appear for a meeting with IRS personnel in which Second Chance
was directed to inform its potential donors that IRS was now prescribing and setting the standard
on what it called a "deconstructed appraisal" to support any charitable contribution. A copy of
an affidavit from Mr. Foster is attached as Exhibit G.

To the best of the taxpayer's knowledge, the IRS has not issued any written guidance describing
the revised method of valuing buildings donated to charitable organizations. Rather, the only
guidance provided to Second Chance was the oral guidance provided to Mr. Foster in July of
2012 by the IRS managers who expressed that authority.



         Exhibit F describes this methodology. It is also important to note that in this letter written more than 6
years ago, the undersigned requested the IRS to issue guidance as to how "deconstructed" property should be
properly valued. Such formal guidance has not been forthcoming. The case at issue in the May, 2010 letter was
ultimately settled with the Washington, DC IRS Appeals Division. The Appeals Division agreed that the Second
Chance program was perfectly permissible under the Code and the parties ultimately agreed to accept a valuation of
the Maryland Department of Assessments and Taxation as the proper basis for valuing the property donated to
Second Chance.
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It is of utmost importance that it is understood that Second Chance has never provided tax advice
to any donor. That is repeated verbally and in almost every document presented to any potential
donor. Notwithstanding that, it is incumbent on Second Chance to share with potential donors
and their advisers any pertinent information that it is aware of to consider in determining whether
to make a donation to Second Chance, and if so, how to properly value the donation. Ultimately
the amount of any deduction claimed, the type of appraisal utilized, and the selection of any
appraiser are all decision made by the donor, independent of Second Chance.

The IRS Examination of Donations to Second Chance in 2011

The investigation in the present case was initiated in August, 2012 by Revenue Agent Charles
Walker. Mr. Walker issued a number of information documents requests in which he asked
Second Chance to supply voluminous records. Second Chance supplied all of the information
that it had that was responsive to Mr. Walker's request. Second Chance produced records
showing the names or persons who had made donations.

With this information, IRS initiated a project to examine the tax returns of approximately 30 to
45 Second Chance donors for the 2011 tax year. It should be noted that donors from 2011 would
not have had the benefit of the guidance provided by IRS Managers to Mr. Foster in July of 2012
and it was clearly too late for a contemporaneous appraisal as the donated structure was gone.

The facts seem to indicate that there was a pre -determined outcome for each examination as
evidenced by the following:

         1.   In at least one case the audit was completed, and the taxpayer was advised that there
              would be no change to his return. After several weeks, the agent contacted the
              taxpayer and advised him that the agent's group manager had advised him that the no
              change report would have to be revised because it involved a donation to Second
              Chance.
         2. A most cursory audit that had a predetermined outcome that both surprised and
              angered the taxpayers and their representatives. There was typically one meeting
              with the taxpayer and/or his/her representative. An examination report was issued
              almost immediately. In one case, the taxpayer was given the examination report at
              the initial meeting. This suggests there is no consideration of the facts of any given
              case.
         3.   All monetary and property donations to Second Chance were immediately and
              summarily disallowed and penalties were asserted.
         4.   The legal basis for disallowing the deductions was always one or a combination of the
              following:
                  A. There was a "quid pro quo." The taxpayers received demolition services in
                     exchange for their donation to Second Chance. The decisions in Rolfs v.
                     Commissioner, 135 TIC. 471, affd at 668 F. 3d 888(7th Cir. 2012) and Patel
                     v. Commissioner, 138 T.C. 395(2012) were routinely cited as support the
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                   examining agent's position. These cases had very different fact sets that
                   concerned donations to fire departments. In every case the donors provided
                    information that they had to pay an independent third party for demolition
                    services after Second Chance had completed its deconstruction. Making a
                   cash contribution to Second Chance did not reduce their demolition costs at
                   all. The conclusion to the contrary is simply wrong.
                B. The taxpayer did not contribute his/her entire interest in the donated property.
                C. Any appraisal that the taxpayer may have submitted was not a "qualified
                   appraisal" prepared by a "qualified appraiser" without specifying any defects
                   in either the appraisal or the appraiser's qualifications. In many of the
                    examinations, the valuation methodology was not mentioned as a basis for the
                    disallowance.
         5. A perfunctory meeting with the agent and a group manager in which the taxpayer's
             representative was advised that all deductions will be disallowed.

Many donors appealed the examination determinations to the IRS Appeals Division, All Second
Chance cases were handled by the IRS Appeals Division on a coordinated basis. All cases were
assigned to the same Appeals Officer, a senior Appeals Officer in Washington, DC. Detailed
legal arguments were submitted in support of the position that the examination reports in
virtually every case were based on both an erroneous factual premise (that the taxpayers received
demolition services in exchange for their donation) and an improper application of applicable
law. Thus, Appeals agreed that the conclusions reached in the examination reports were wrong,
but there was still a difference of opinion on the proper valuation of any property contributed to
Second Chance.

The taxpayers requested that Appeals Officer provide copies of any guidance that had been
issued that addressed how donations such as those made to Second Chance should be valued.
The Appeals Officer indicated that to the best of her knowledge no such guidance had ever been
issued.

After a series of meetings, the parties reached a basis of settlement in May, 2014. They agreed
that all affected taxpayers were entitled to deduct the full amount of their cash contributions to
Second Chance, 50% of the value of the contributed property, and that no penalties would be
asserted. This was intended to be a global settlement to resolve all Second Chance cases. This
settlement was reviewed and approved by the Appeals officer and by at least one senior reviewer
in the Appeals Division.

It is most important to emphasize the following:

            The activities which served as the basis for the agent's conclusions were the very
            same actions considered by Appeals. The actions characterized as a scam by the
            examining agent have been determined by IRS Appeals to be perfectly
            permissible under the Code.
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             The examining agent's conclusion that any cash contribution is a "quid pro quo"
             for demolition services has been rejected by the Appeals Division because this
             position is contrary to all available evidence.
             The issue of the proper method for valuing donations such as those made to
             Second Chance has been settled on a "hazards of litigation" basis. This has been
             done because the Service has never been issued any guidance regarding the
             proper valuation method. In other words, it is not proper for the Service to
             disallow deductions when it has never told taxpayers how they should value their
             donations.

The settlement was offered and accepted by approximately 20-35 individual taxpayers who were
audited for their 2011 tax year. The IRS immediately provided written agreements to some of the
taxpayers, all of them signed the agreements and paid any additional tax due under the
settlement. (Note IRS should have precise number of persons accepting the global settlement.)
Other donors (approximately 10-15 individuals) were treated differently with some receiving
written settlement agreements which they signed and returned before the deadline, and others
who verbally accepted the offer but did not receive a written offer.

In September/October, 2014 these remaining donors were told that a hold had been placed on all
Second Chance cases. None of the persons that we have dealt with in the IRS will provide any
information about why the processing of Second Chance cases was placed on hold. We believe,
but cannot confirm, that the hold resulted from cx parte communications between representatives
of the IRS Examination and Appeals Divisions. Such ex parte conimunications are expressly
prohibited by the Internal Revenue Service Restructuring and Reform Act of 1998, Rev. Proc.
2012-18, §2.03, and by the manuals of both the IRS and Appeals and Examinations. Internal
Revenue Manual Part 4.2.7(Examination Division) and Part 8.1 .10 (Appeals).

In late November, 2014 the remaining donors were advised that the IRS was revoking the
"global settlement" offer and that it would provide a new offer. Under the revised offer, a
taxpayer could settle by accepting a 50% disallowance of any cash contributed to Second Chance
and $10,000 for the value of any property that had been contributed. No penalties would be
asserted. The legal position to support the logic of this offer has not been provided to any of the
taxpayers.

When donors or their representatives contacted the Appeals Officer assigned to coordinate the
Second Chance project, they were told that she would be happy to meet with them to discuss
their cases, but that she had no authority to deviate from the settlement offer. The matter had
been taken out of her hands. When asked if she could arrange a meeting with higher level
officials who had made the decisions, she said that she did not think that this was possible.
When she was requested to provide a written explanation of the IRS position which led to
modification of the prior position, she said there was no written explanation, or if there was it
had never been provided to her. When asked if it did not seem fundamentally unfair of the IRS
to treat similarly situated taxpayers differently, she said she had no authority to comment on this.
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The individual taxpayers who were given the revised settlement offers have either signed Forms
870 and intend to file a suit for refund in federal district court after all procedural requirements
have been satisfied, or have asked for notice of deficiency so they may challenge the IRS
position in U.S. Tax Court. We have not been involved in pursuing any case after having
negotiated the global settlement.

Conclusion

We believe that since its inception Second Chance has operated in a manner that is entirely
consistent with the tax code. It has acted in a manner that has been praised both by the EPA and
by HUD, It has been the recipient of many awards at the federal, state, and local levels. Its
activities have been entirely consistent with the purpose for which it was initially granted
exemption under Section 501 (c)(3). The agent's report offers no discussion of what Second
Chance's exempt purpose is and whether it has acted in accordance with this exempt purpose.
His conclusion that its exemption should be revoked is simply not supported by any relevant,
credible evidence.

The IRS has consistently determined that Second Chance conducts its activities in a manner
acceptable to the IRS. While the Service has taken issue with the proper valuation of donations
to Second Chance, it has never published definitive guidance with respect to how it believes
these donations should be valued.

Second Chance represents what can be accomplished in service to the community when donors
are generous enough to provide materials and training opportunities rather than send those
materials to the landfill. The role of government is to encourage good and responsible behavior
and one way that is done is by providing tax incentives. This is precisely what both EPA and
HUD are suggesting in the materials attached to this letter.

The outcomes that are the result of the operation of Second Chance are recognized by the
community as well as by City and State Government by the many awards and recognitions that
have been bestowed and jobs that are being created.
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Second Chance has acted in a manner consistent with its exempt purpose and its activities have
been and will continue to be deserving of praise. There is no basis in anything the agent has
written that serves as a basis for revocation of its exempt status.

We look forward to discussing this matter with you.

Sincerely,


Thomas J. O'Rourke

Enclosures

cc:      Mark Foster
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                                                                                           b
Internal Revenue Service                                            Department of the Treasury
Appeals Office
San Jose Appeals, MS -7 100                                         Employer Identification Number:
55 S. Market St., Suite 440
San Jose, CA 95113



Date: MAR 232017
                                                                    Internal Revenue Code Section:
                                                                     501 (c)(3)

SECOND CHANCE, INC.                                                 Person to Contact:
%MARK S FOSTER                                                       Kim Nguyen
1700 RIDGELY STREET                                                  Employee ID Number: 1000203260
BALTIMORE, MD 21230                                                  Tel 408-283-1492
                                                                     Fax: 855-238-8648
                                                                     Contact Hours: 7:3OAM-4:00 PM PT

                                                                    Date of Proposed Adverse Letter:
                                                                     April 15, 2015



Dear Taxpayer:

This letter revokes the proposed adverse letter issued to you by the Director, Exempt Organizations,
Examinations, on the above date and reflects our consideration of your appeal. As a result of our review,
we have determined that the organizations tax exemption from Federal income tax as an organization
described in Internal Revenue Code (the "Code) section indicated above remains in effect. In addition,
we have also determined that the organization's foundation status under Code section 509(a)(1) and
1 70(b)(1 )(A)(vi) remains in effect.

For tax periods beginning January 1, 2010, tax-exempt organizations with gross receipts of $50,000 or
more must file either Form 990-EZ or Form 990 depending on their gross receipts and total assets. Small
tax-exempt organizations with gross receipts normally less than $50,000 a year may tile an annual
electronic notice, Form 990-N, Electronic Notice (e -Postcard) for Tax -Exempt Organizations Not Required
to File Form 990 or 990-EZ instead of a full return. If a return or notice is required, it must be filed by the
 15th day of the fifth month after the end of your annual accounting period. The law imposes a penalty on
the organization of $20 a day, up to a maximum of $10,000, when a return/form is filed late, unless there
is reasonable cause for the delay. This penalty may also be charged if a return/form is not complete.
Organizations that do not file a return or a notice for three consecutive years will lose their tax-exempt
status. You may visit www.irs.gov for further details, exceptions to filing, and instnictions on how to file.

You are not required to file Federal income tax returns unless you are subject to the tax on unrelated
business income under Code section 511. If you are subject to this tax, you must file an income tax
return on Form 990-T. In this letter we are not determining whether any of your present or proposed
activities are unrelated trade or business as defined in Code section §513.

Unless specifically excepted, you are liable for taxes under the Federal Insurance Contributions Act
(social security taxes) for each employee to whom you pay $100 or more iuring a calendar year. And,
unless excepted, you are also liable for tax under the Federal Unemployment Tax Act for each employee
to whom you pay $50 or more during a calendar quarter if, during the current or preceding calendar year,
you had one or more employees at any time in each of 20 calendar weeks or you paid wages of $1,500 or
more in any calendar quarter. If you have any questions about excise, employment, or other Federal
taxes, please address them to the Director, Exempt Organizations, Rulings and Agreements.
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 You are also subject to certain excise taxes under Chapter 42 of the Code where applicable. Please see
 Publication 557, Tax -Exempt Status for Your Organization, for more details.

 Please show your employer identification number on all returns you file and in all correspondence with the
 Internal Revenue Service.

 Because this letter could help resolve any questions about your exempt status, you should keep it in your
 permanent records.

 If you have any questions, please contact the person whose name and telephone number are shown in
 the heading of this letter.



                                                          Sincerely Yours,

                                                           p.
                                                                   cë# Peie
                                                          J. Kevin Phegley
                                                          Appeals Team Manager

 cc: Christopher A. Davis & Thomas J. ORourke
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 Internal Revenue Service                                 Department of the Treasury
 Appeals Office
 San Jose Appeals, MS -7100                               Person to Contact:
 55 S. Market St., Suite 440                               Kim Nguyen
 San Jose, CA 95113                                        Employee ID Number: 1000203260
                                                           Tel: 408-283-1492
                                                           Fax: 855-238-8648
 Date:                                                     Contact Hours: 7:30AM - 4:00PM PT
         MAR 232011
                                                          Refer Reply to:
                                                           AP:TS:SJO: KTN
                                                          In Re:
 THOMAS J. O'ROURKE                                        Second Chance, Inc.
 MILES & STOCKBRIDGE PC                                   SSN/EIN Number:
 11 N WASHINGTON STREET, STE 700
 ROCKRILLE, MARYLAND 20850                                Tax Period(s) Ended:
                                                           12/2009 12/2010 12/2011

 Dear Mr. O'Rourke:

 We are sending you the enclosed material under the provisions of your power of attorney or other
 authorization we have on file. For your convenience, we have listed the name of the taxpayer to whom
 this material relates in the heading above.

 If you have any questions, please call me at the above phone number.

 Thank you for your cooperation.

                                                          Sincerely,




                                                          Kim Nguyen
                                                          Appeals Officer




                                                                                       RECEIVED
                                                                                          MAR 272017

                                                                                   MILES&STOCKBRIDQE P.c.
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02/19/2015       @7:50     4103850435                        SECOND_CHANCE                                           PAGE    01




 Internal Revenue Service                                              Department of the Treasury
 Tax Exempt & Government Entities
 450 Goldcv Gate Ave
 MS 7401                                                               Examiner:
  San Francisco, CA 94102
                                                                         Marco Volpe


 Date: February 10. 2015                                               Fxaminer'5 Employee IdentificatIon Nunibev:
                                                                         94-11780
                                                                       Corttect Telephone Number:
 Mark Foster                                                             415-837-6673
 5 Upland Rd                                                           Fax Number;
 Baltimore, MI) 2J210                                                    855-770-707




  Dear Mr. Foster:

 We have reviewed materials regarding your participation in tax avoidance transactions. We are considering
 penalties and inlunctions under Internal Revenue Code sections 6694, 6695, 6700, 6701. 7402, 7407 nd 7408
 for promoting and/or preparing documents relating to these transactions. In addition, we will consider issuing
 "pre -filing nolificaJion" letters to persons participating in these transactions.



 This letter is to schedule a meeting to give you an opportunity to present any facts or legal arguments that you
 feel would conclude the penalties and/or injunction are pt appropriate.

 Appointment Information:

 Location: 31 Hopkins Plaza                                            Date: March 5, 2015
          Room 1320 - 13th floor
          Baltimore, MD 21201                                          Time: l0:00 alp



 Generally, no extension of time will be granted for this meeting; however, if you would like to reschedule, an
 earlier date will he considered. Theinformation you provide at this meeting will he used to determine what
 possible action(s) the Internal Revenue Service may take.

 Please contact me at the telephone numlier shown above if you have any questions you would like to discuss.

 Thank you for your cooperation.

                                                              Sincerely yours,

                                                                         t/
                                                             Marco Volpe
                                                             Revenue Agent

 Enclosure(s):
 Notice 609
 IDR
                                                                                                     Letter 3828 420O4)
                                                                                                     Catalog Number 37925K
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                                                                 SECOND_CHANCE                                   PAGE      52
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                                        Dcpartment of the Treasury              Request Number
         Form 4564
                                         Internal Revenue Service                 01
                                 Department Informatk)n Document Rcgue8t
         To: (Name of Taxpayer and Company, Division or     Subject:
                 Branch)
         Matk Foster                                        Submitted to:
         5 Upland Road
         Baltimore, MD 21210
                                                            Dates of Previous Requests:



         Description of Documents Requested;

         Provide the following information for the period January 1, 2009 to the present.

         The following request for information applies to Mark Foster and Second Chance Inc. It also
         includes any employees, agents or staff of any of the above.

             -    Power of attorney, if you wish to have a representative work with me during the
                  examination.

             -    List of all clients from 2009 to present in which you sold or advertised Second chance's tax
                  shelter / promotion including (for each client):

                  Names
                  Addresses
                  Donor acknowledgement letters
                  P ledge letters! Pledge commitments
                  Program Overview - Funded Deconstruction Options
                  Non -cash contribution value received by Second Chance
                  Annual service payment for dcconstruction services rendered

                  (all applications, contracts, agreements and invoices with respect to purchasers; and all
                  receipts for payment with respect to purchasers)

             -    All records of payments received from clients (including non -cash contributions & service
                  payments), including but not limited to, general ledgers and cash receipts lournals, bank
                  statements and deposit slips.

             -    All records of any statements made with respect to the allowability of' credits or deductions
                  or other lax benefits obtainable through the participation in Second Chance's tax shelter plan
                  promoted. (records including, but not limited to documents, ernails, brochures, videotapes,
                  audiotapes, compact discs, etc.)


         Information Due By                 March 5, 2015      At Next Appointment                       Mail In

                         Name and Title of Requestor                                                          Date:
                                                                                                              2/10/201.5
                         Marco Volpe     (ID# 94-11780                                                    I




         FROM            Offke Location:
                         IRS / TEGE, 450 Golden Gate Aye, MS 7401, San Francisco, CA 94102
                         Phone: Voice (415) 837-6673                                                          Page 1
                         FAX (855-770-70d7
         Form 4564
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                                                                 SECOND_CHANCE                                  PAGE      84
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           Form 4564                      Department of the Treasury                            j Request Number
                                           Internal Revcnue Service                             I
                                                                                                     01
                                   Department Information Document Request                      L_
           To: (Name of Taxpayer and Company, Division or     Subject:
                    Branch)
           Mark Foster                                        Subinittecl to:
           5 Upland Road
           Baltimore, MD 21210
                                                              Dates of Pxeviou



           Description of Docwnents Requeated
            -  All forms, including company formation documents, provided to clients of Second Chance

             -    Promotional material: all manuals, operations handbooks, prospectus, brochures, seminar
                  material, schedule of seminars offered, or other documents which describe the tax shelter
                  plan or arrangement offered to purchasers.

                  All documents describing the marketing activities and strategies of any tax sl,elter plan
                  offered. This includes (1) any training manuals provided to salespeople (2) any media,
                  including but not limited to, videotapes, audiotapes, compact discs, used to train salespeople,
                  and (3) any media, including but not limited to video tapes, audiotapes, or CD's, used in
                  marketing any tax shelter plan or arrangement.


      7      -    All legal, accounting or other opinions sought and utilized in the promotion of the tax shelter
                  plan or arrangement offered.

                  Documents which idcntify the names and addresses of all persons involved in the
                  organization (or assisting in the organization) or sale of any tax shelter plan or arrangement
                  promoted or offered by Mark Foster / Second Chance. These persons include, but are not
                  limited to (1) attorneys, (2) Certified r'ublic Accountants, (3) salespersons, and (4) other
                  persons to whom commissions or finders fes were paid.

                  All minutes of any promotion efltity from inception to the present, including records
                  regarding the appointment and/or resignations/terminations of any entity official, records of
                  all assets transferred into any entity, and all records regarding the ownership of all shares of
                  beneficial interest in any entity.

      10          Identification of all former and current entity officials from inception of the promotion to the
                  present Identification to include nane, address and telephone number, beth business and
                  personal -


             -    Copies of any related entities returns (Form 1120, 1 120S, 1065, 1040, 940, 941, 945)

          Information Due By                Match 5,2015       At Next Appointment                         Mail In

                         Name and Title of Requestor                                                         Date:
                                                                                                             2110/201.5
                          Marco Volpe      (ID# 94-11780
          FROM            Office Location:
                          IRS / TEGE, 450 Golder Gate Aye, MS 7401, San Franciaco, CA 94102
                         Phone: Voice (415) 837.6673                                                         Page 1
                         FAX (855-77O-7067
          Form 4564
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Thomas .1. O'Roiirkc
301-517-4821
torourke®miksstockbridge.com



March 5,2015

Mr. Marco Volpe, Revenue Agent
IRS TE/GE
450 Golden Gate Avenue
MS 7401
San Francisco, CA 94102


Re:      Second Chance

Dear Mr. Volpe:

This letter is written in response to your letter dated February 10, 201 5 to my clients, Mark
Foster and Second Chance, Inc. ("Second Chance"). It will be given to you at our meeting
scheduled for March 5, 2015 at the IRS offices in Baltimore, Maryland.

We would like to take this opportunity to do the following:

          1.   To provide a brief overview of how Second Chance operates to carry out its tax
             exempt purposes and a brief summary of its interactions with IRS since its inception.
          2. To ascertain from you precisely why the IRS believes that Second Chance and Mark
             Foster are involved in abusive tax avoidance transactions.
          3. To make you aware that there is an ongoing need to provide further guidance as to
             how donations of property such as those made to Second Chance should be valued for
             federal income tax purposes.
          4. To provide as much of the information as we have been able to gather to this point in
             response to the information documents request that was included with your letter of
             February 10, 2015.
          5.   To clarify certain questions we have regarding your documents request so we can
               provide this information as soon as possible.

An Overview of Second Chance and its Activities

Second Chance was organized in 2001 as a nonprofit organization that provides people,
materials, and the environment with a "second chance." We have attached a description of how
it carries out its exempt purposes taken from the organization's web site as Exhibit A. The
Second Chance mission is to retrain and create employment for displaced and unemployed
workers in deconstruction methods; reclaim building material to reduce demolition debris
overloading landfills; and renew materials to preserve the region's rich architectural heritage.
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Second Chance provides jobs and a green collar workforce, protects the natural environment, and
preserves our architectural heritage.

 We have attached materials from the websites from the US Environmental Protection Agency
(Exhibit B) and from the US Department of Housing and Urban Development (Exhibit C) that
encourage the use of programs such as those adapted by Second Chance. We have also attached
materials from a variety of organizations and publications that use methods similar to those
employed by Second Chance or that describe the benefits the benefits of deconstruction
programs (Exhibit D).

Second Chance was founded in 2001 and developed an employment and training program in
2003 to address the pressing needs of Baltimore City residents facing multiple challenges in
finding employment.

As a testament to the effectiveness of the Second Chance mission, the organization has been the
subject of numerous press reports and has received awards and recognition on multiple levels.
These include, among others: the "Baltimore Regional Workforce Innovations Award" awarded
by the Baltimore Workforce Investment Board and the Baltimore County Workforce
Development Council; the "Enoch Pratt Community Award" presented by The First Unitarian
Church of Baltimore; the "City of Baltimore Certificate of Recognition" in recognition of Second
Chance's outstanding service to the Operation Safe Kids Program and Baltimore City youth; an
"Official Citation" from Senator Vema L. Jones of the 44th Legislative District, Baltimore City,
and from Delegate Salima Siler Marriott, Chair of the Baltimore City Delegation, in recognition
of enhancing the region's economic and workforce development; a "Mayorc Letter                of
Appreciation" from Mayor Martin O'Malley; and the "Mayor's Business Recognition Award"
from the Greater Baltimore Committee and the Baltimore Development Corporation.

Second Chance is able to carry out its mission because of the support of its donors who have
contributed buildings, materials, and money to support its exempt purposes. Because the IRS
has granted an exemption to Second Chance under section 50 1(c) (3) of the Code, donors are
entitled to claim a tax deduction for the value of any property contributed to Second Chance.

RS Examination for Tax Years Prior to 2011

For the periods prior to 2011 a number of Second Chance donors were examined by the IRS and
the valuation of the property contributed by these donors to Second Chance was questioned. A
number of cases resulted in the taxpayers' receipt of a "no change" letter, meaning the IRS
accepted the donation to Second Chance as perfectly permissible under the tax code. While
Second Chance has not been a party to any of these actions, it has been advised that all IRS
examinations initiated prior to 2013 were resolved amicably between the donors and the IRS.

An issue in any IRS examination of a Second Chance donor typically involves the value of any
materials or structure that has been donated and the proper methodology to be used in
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determining the value of the donated property. Most individuals who donated buildings prior to
2012 valued their donations by determining the value of the property before and after the
donation and claiming the diminution in value of the property as the charitable contribution, or
utilized a qualified real estate appraiser to determine the contributory value of the structure being
donated. See the attached Exhibit E.

In the middle of 2012, the IRS changed the standard it would apply to Second Chance donations,
and by inference donations made to similar organizations. On July 12, 2012, Mark Foster was
summoned to appear for a meeting with IRS Managers in which Second Chance was directed to
inform its potential donors that IRS was now prescribing and setting the standard on what it
called a "deconstructed appraisal" to support any charitable contribution. Second Chance found
several appraisal firms to refer donors to that could produce the type of appraisal delineated by
IRS managers. Accordingly, by late 2012 /early 2013, almost all Second Chance donors began
to value their donation by valuing the specific items donated from the structure, rather than the
value of the entire structure as determined by a real estate appraisal. A sample of the
"deconstructed appraisal" which the taxpayer believes to be in full compliance with the
examination methodology described at the July 12, 2012 meeting with the IRS managers is
attached as Exhibit F.

To the best of the taxpayer's knowledge, the IRS has not issued any written guidance describing
the revised method of valuing buildings donated to charitable organizations. Rather, the only
guidance provided to Second Chance was the oral guidance provided to Mr. Foster in July of
2012 by the IRS managers who expressed that authority. Any information that Second Chance
has gained about the IRS position since 2012 has been derived on an ad hoc basis from donors
who have been examined.

It is of utmost importance that it is understood that Second Chance does not and cannot provide
tax advice to any donor. That is repeated verbally and in almost every document presented to
any potential donor. Notwithstanding that, it is incumbent on Second Chance to share with
potential donors and their advisers any pertinent information that it is aware of to consider in
determining whether to make a donation to Second Chance, and if so, how to properly value the
donation. Ultimately the amount of any deduction claimed, the type of appraisal utilized, and the
selection of any appraiser are all decision made by the donor, independent of Second Chance.

The IRS Examination of Donations to Second Chance in 2011

In August, 2012 Revenue Agent Charles Walker of the IRS office in Baltimore, MD initiated an
audit of Second Chance and issued a number of information documents requests in which he
asked Second Chance to supply much of the same information that is included in your
documents request. Over a period exceeding six months, Second Chance supplied all of the
information that it had that was responsive to Mr. Walker's request.
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Second Chance and its representatives met with Mr. Walker on many of occasions during the
period from August, 2012 through September, 2013 and have communicated with him on an
intermittent basis since that time. In one of the very first meeting with Mr. Foster, Agent Walker
indicated his belief that Second Chance was "one of the worst tax shelters he had seen in his
career" and that "no deduction should be allowed for a structure that was going to be demolished
anyway." During the course of the investigation, the agent Walker interviewed the auditor for
Second Chance and stated to him that he was "going to put a stake through the heart of Second
Chance." As a result of this comment and what Second Chance believed approximately a half
dozen violations of federal disclosure statues, it filed a complaint with the Treasury Department
Inspector General (TIGTA). TIGTA has opened an investigation of this matter and to the best of
our knowledge this investigation is ongoing.

Second Chance believes that Agent Walker has a single minded agenda to follow in pursuit of
his ambition to "put a stake in the heart of Second Chance" as evidenced by:

    1. Auditing Second Chance in pursuit of alleged transgressions to support that outcome.
    2. Auditing the personal returns of Mr. Foster for 2008 to 2012.
    3. Auditing the personal returns of Mrs. Foster for 2008 to 2012.
    4. Auditing 35+ donors of Second Chance to create an atmosphere of fear on the part of any
       future donors (fully explained below).
    5. Interceding to prevent the Global Settlement from being fully implemented to cause more
       fear for potential donors (see explanation below).
    6. Acting in a manner to precipitate a TIGTA investigation.
    7. Attempting to initiate a Criminal Investigation of Mr. Foster that was opened and then
       quickly closed.
    8. Possibly involved in lobbying for this current investigation to be opened with the same
       stated goal of destroying Second Chance.
    9.   Diminishing the ability of Second Chance to survive under the weight of the cost to
         defend all of the actions being taken by Agent Walker.

As part of the IRS examination of Second Chance, IRS requested that it produce records showing
the names or persons who had made donations to Second Chance over the course of several years
in 2011. Second Chance complied with this request and provided the information. Second
Chance has not been provided a copy of any examination report that may have been prepared as
a result of Mr. Walker's investigation.

IRS initiated a project to examine the tax returns of approximately 30 to 45 Second Chance
donors from 2011. It should be noted that donors from 2011 would not have had the benefit of
the guidance provided by IRS Managers to Mr. Foster in July of 2012 and it was clearly too late
for a contemporaneous appraisal as the donated structure was gone.

The facts seem to indicate that there was a pre -determined outcome for each examination as
evidenced by the following:
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         1.   In at least one case the audit was completed, and the taxpayer was advised that there
              would be no change to his return. After several weeks, the agent contacted the
              taxpayer and advised him that the agent's group manager had advised him that the no
              change report would have to be revised because it involved a donation to Second
              Chance.
         2. A most cursory audit that had a predetermined outcome that both surprised and
             angered the taxpayers and their representatives. There was typically one meeting
            with the taxpayer and/or his/her representative. An examination report was issued
              almost immediately. In one case, the taxpayer was given the examination report at
              the initial meeting. This suggests there is no consideration of the facts of any given
              case.
         3.   All monetary and property donations to Second Chance were immediately and
            summarily disallowed and penalties were asserted.
         4. The legal basis for disallowing the deductions was always one or a combination of the
            following:
                  A. There was a "quid pro quo." The taxpayers received demolition services in
                     exchange for their donation to Second Chance. The decisions in Rolfs v.
                     Commissioner, 135 TIC. 471, aff'd at 668 F. 3d 888(71h Cir. 2012) and Patel
                     v. Commissioner, 138 T.C. 395(2012) were routinely cited as support the
                     examining agent's position. These cases had very different fact sets that
                      concerned donations to fire departments.
                  B. The taxpayer did not contribute his/her entire interest in the donated property.
                  C. Any appraisal that the taxpayer may have submitted was not a "qualified
                      appraisal" prepared by a "qualified appraiser" without specifying any defects
                      in either the appraisal or the appraiser's qualifications. In many of the
                      examinations, the valuation methodology was not mentioned as a basis for the
                      disallowance.
         5. A perfunctory meeting with the agent and a group manager in which the taxpayer's
             representative was advised that all deductions will be disallowed.

Many, if not all, donors appealed the examination determinations to the IRS Appeals Division.
All Second Chance cases were handled by the IRS Appeals Division on a coordinated basis. Al!
cases were assigned to the same Appeals Officer. Detailed legal arguments were submitted in
support of the position that the examination reports in virtually every case were based on both an
erroneous factual premise (that the taxpayers received demolition services in exchange for their
donation) and an improper application of applicable law. Thus, Appeals agreed that the
conclusions reached in the examination reports were wrong, but there was still a difference of
opinion on the proper valuation of any property contributed to Second Chance.

The taxpayers requested that Appeals Officer provide copies of any guidance that had been
issued that addressed how donations such as those made to Second Chance should be valued.
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The Appeals Officer indicated that to the best of her knowledge no such guidance had ever been
issued.

After a series of meetings, the parties reached a basis of settlement in May, 2014. They agreed
that all affected taxpayers were entitled to deduct the full amount of their cash contributions to
Second Chance, 50% of the value of the contributed property, and that no penalties would be
asserted. This was intended to be a global settlement to resolve all Second Chance cases. This
settlement was reviewed and approved by the Appeals officer and by at least one senior reviewer
in the Appeals Division. We believe the settlement was offered and accepted by approximately
20-35 individual taxpayers who were audited for their 2011 tax year. As part of the project
described above. The IRS immediately provided written agreements to some of the taxpayers, all
of them signed the agreements and paid any additional tax due under the settlement. (Note IRS
should have precise number of persons accepting the global settlement.) The other donors
(approximately 10-15 individuals) were treated differently with some receiving written
settlement agreements which they signed and returned before the deadline, and others who
verbally accepted the offer but did not receive a written offer.

In September/October, 2014 these remaining donors were told that a hold had been placed on all
Second Chance cases. None of the persons that we have dealt with in the IRS will provide any
information about why the processing of Second Chance cases was placed on hold. We believe,
but cannot confirm, that the hold resulted from ex parte communications between representatives
of the IRS Examination and Appeals Divisions. Such ex parte communications are expressly
prohibited by the Internal Revenue Service Restructuring and Reform Act of 1998, Rev. Proc.
2012-18, §2.03, and by the manuals of both the IRS and Appeals and Examinations. Internal
Revenue Manual Part 4.2.7(Examination Division) and Part 8.1.10 (Appeals).

In late November, 2014 the remaining donors were advised that the IRS was revoking the
"global settlement" offer and that it would provide a new offer. Under the revised offer, a
taxpayer could settle by accepting a 50% disallowance of any cash contributed to Second Chance
and $10,000 for the value of any property that had been contributed. No penalties would be
asserted. The legal position to support the logic of this offer has not been provided to any of the
taxpayers.

When donors or their representatives contacted the Appeals Officer assigned to coordinate the
Second Chance project, they were told that she would be happy to meet with them to discuss
their cases, but that she had no authority to deviate from the settlement offer. The matter had
been taken out of her hands. When asked if she could arrange a meeting with higher level
officials who had made the decisions, she said that she did not think that this was possible.
When she was requested to provide a written explanation of the IRS position which led to
modification of the prior position, she said there was no written explanation, or if there was it
had never been provided to her. When asked if it did not seem fundamentally unfair of the IRS
to treat similarly situated taxpayers differently, she said she had no authority to comment on this.
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The individual taxpayers who were given the revised settlement offers have either signed Forms
870 and intend to file a suit for refund in federal district court after all procedural requirements
have been satisfied, or have asked for notice of deficiency so they may challenge the IRS
position in U.S. Tax Court..

Basis for IRS Position that Second Chance is Engaged in an Impermissible Tax Avoidance
Activity and Could be Subject to an Injunction and Penalties

Your letter of February 10, 2015 indicates that you have reviewed materials "regarding your
participation in tax avoidance transactions," We respectfully request that you provide us with
copies of these materials and tell us what these tax avoidance activities are. We would also like
to make a number of comments with respect to this statement.

Tax avoidance strategies are entirely permissible. This principle was perhaps best summarized
by Judge Learned I -land when he stated: "Over and over again courts have said that there is
nothing sinister in so arranging one's affairs as to keep taxes as low as possible. Everybody does
so, rich or poor; and all do right for nobody owes any public duty to pay more tax than the law
demands, taxes are enforced exactions, not voluntary contributions." Newman v. Commissioner,
159 F.2d 848(2d Cir. 1947).

Tax avoidance strategies are specifically embraced in the tax code. Home mortgage interest,
contributions to tax deferred plans, and contributions to a recognized charity are all strategies
that allow the avoidance of tax. Second Chance is a section 501(c) (3) organization and
contributions to it are expressly permitted by code section 170.

While the IRS has examined Second Chance donors since its inception, some examiners have
found these deductions to be entirely consistent with the tax code. Moreover, even in those cases
settled on some intermediate basis, no penalties have ever been upheld. Why are Second
Chance activities now being characterized as a possible abusive tax shelter?

The underlying argument that the Service has used in all cases described above in regards to the
cash contribution is that it promotes a quid pro quo. In the Service's view, donors are paying
Second Chance for demolition of their property in exchange for a tax benefit and for demolition
services. This assertion is wrong as a matter of fact and has been rejected. During the appeals
process, a number of taxpayers provided evidence from demolition companies that established
that anything removed by Second Chance had no impact on the cost of demolition. In other
words, any donations to Second Chance saved the taxpayers nothing in demolition costs.

We are particularly perplexed because Second Chance believes            it   is acting in a manner
encouraged by EPA and HUD ( see Exhibits B and C), used by any number of companies ( see
exhibit D), and praised by respected financial periodicals (see exhibit D), but condemned by IRS
as an "abusive tax shelter" for reasons that have yet to be disclosed.
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While Second Chance has questioned the method used by some donors to value their donations it
has issued no guideline as to how this should be done. As early as 2010, the undersigned
implored the IRS to tell donors how to value their donations (see Exhibit E and in particular the
highlighted paragraphs), but this request has been repeatedly ignored.

Information Documents Request

The underlying basis for the documents request is that the IRS believes that Second Chance is
promoting an impermissible tax avoidance program. While we will, to the best of our ability in
the very short lead time provided, provide a response to your requests, we dispute any
implication that Second Chance is engaged in any impermissible activity.

We have compiled some of the information in response to your documents request and wish to
clarify certain other requests. We specifically request your guidance and clarification on the
following:

         1.   Your have requested information for the period from 2009 through the present. Much
              of the information that you have requested was provided to Agent Walker in 2012 at
              significant time and expense to Second Chance. Do you want us to provide this same
              information to you? Is it satisfactory if we supply information for the periods
              subsequent to those periods already provided?
         2.   The undersigned has previously provided a power of attorney from both Second
              Chance and Mr. Foster. If this power needs to be updated I will discuss this with you
              when Mr. Foster and I meet with you on March 5, 2014.
         3. We have provided as Exhibit G the general information provided to prospective
             donors who inquire about donating properties to Second Chance.
         4. We have provided copies of sample follow-up information provided to persons who
            make donations to Second Chance as Exhibit H.
            We have attached a copy of the Form 4564 that you sent to Second Chance and have
            provided responses to these inquires to the extent we could within the limited time
            frame allowed (Exhibit I). We will review this with you when we meet on March 5,
              2015.

Conclusion

We believe that since its inception Second Chance has operated in a manner that is entirely
consistent with the tax code. For the most part, when the IRS has questioned donations, it has
agreed with this position. The only substantive issue we have been unable to resolve is the
proper methodology for valuing contributions of structures. While IRS has disagreed with the
approach used in some cases, it has agreed with it in others. What has been acknowledged is that
IRS has not published any specific guidance on this matter.
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Second Chance firmly believes it conducts its activities in a manner acceptable to the IRS.
Donors to Second Chance and the many other organizations like it cannot always do so
consistently unless the IRS publishes definitive guidance with respect to how it believes these
donations should be valued.

Second Chance represents what can be accomplished in service to the community when donors
are generous enough to provide materials and training opportunities rather than send those
materials to the landfill. The role of government is to encourage good and responsible behavior
and one way that is done is by providing tax incentives. This is precisely what both EPA and
1-JUD are suggesting in the materials attached to this letter.

The outcomes that are the result of the operation of Second Chance are recognized by the
community as well as by City and State Government by the many awards and recognitions that
have been bestowed and jobs that are being created.

This is clearly not an abusive tax shelter and it is our hope that this investigation is closed
quickly so resources can be applied to cases where actual harm is being done.

Second Chance firmly believes that this investigation is, hopefully, the last vestige of an ongoing
attempt by Agent Walker to "put a stake in the heart" of Second Chance. If you agree, you
should bring this Second Chance investigation to a close in the same expedited manner in which
the criminal investigation was closed when facts did not align with his allegations.

If you believe there is merit to the assertions, then Second Chance believes you must address the
issue as well in a broader context than a singular action against only one of hundreds of
organizations that mimic the behaviors that you are investigating. Additionally, if you believe
these activities are abusive promotions as alleged, then it should be expected you will endeavor
to unwind the promotion of these types of activities by the governmental agencies who now
openly advocate for this behavior.

We look forward to discussing this matter with you.

Sincerely,


Thomas J. O'Rourke

Enclosures

cc:      Mark Foster
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        Thoiiis .1. O'Roijrke
             301-517-4821
 torourkc®milcsstockbridgc.com



March 16, 2015

Mr. Marco Volpe, Revenue Agent
IRS TE/GE
450 Golden Gate Avenue
MS 7401
San Francisco, CA 94102

Re:         Second Chance

Dear Mr. Volpe:

This letter is written in follow-up to our meeting on Monday, March 9, 2015 in Baltimore.

At the very outset I wish to emphasize that since its inception, one of Second Chance's primary
goals has been to operate in a manner consistent with all IRS guidelines in accomplishing its tax
exempt purposes. It thought it had been doing so because, prior to 2013, most donors who had
been audited by the IRS received no change letters. To Second Chance this meant that the
methodologies it used were consistent with IRS policies. In those cases where the amount of the
donation was questioned, the basis of the disagreement involved the valuation used by the
taxpayer. Such cases were typically settled either between the taxpayer and the agent, or the
taxpayer and the Appeals division. When Mr. Foster was advised in July, 2012 that IRS wanted a
specific personal property appraisal that it called a "deconstructed appraisal" he advised donors
of this. Thus, since late 2012 donors have been using a valuation method that they believed to
consistent with IRS policy. If you disagree with this, please advise us and tell us the proper
method to use.

A consistent basis for the position taken in the examination of 2011 Second Chance donors was
that the taxpayers received a quid pro quo (demolition services) in exchange for any cash
donation and that they did not donate their entire interest in the property. Both of these
arguments are addressed in the protest that is attached as Exhibit A to this letter filed by the
undersigned on behalf of one donor. The IRS Appeals office agreed with the position taken in
the attached letter and this case was settled. The Appeals settlement was approved by senior
level Appeals reviewers.

Since Second Chance has now advised its donors that any contribution must be supported by a
personal property appraisal that values the individual component items that are donated in the
manner specified to Mr. Foster by IRS, we believe the partial interest issue is now moot with
respect to cases arising after late 2012. Please advise us if you disagree.



Client Documents 4826-2503-0S66vl 1101898-00000 3/4/2015
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The issue of whether there is a quid pro quo for any cash donation needs to be addressed. We
have supplemented the argument set forth in the attached protest in the succeeding section of this
letter.

There was no quid pro quo for the cash contributions donors made to Second Chance.

When we met you explained in that in your view cash contributions to Second Chance are not
deductible because the taxpayers received a quid pro quo - they received demolition services in
exchange for the cash. We believe that this position is wrong both as a matter of fact and as a
matter of law.

When Second Chance receives a donation it advises the donor that the structure they donate will
be used in support of its mission to train disadvantaged individuals in deconstruction techniques.
The goal is to help these individuals develop skills they can use to find full time employment.
The individuals who work on the deconstruction project are paid for their services. A Second
Chance donor is requested to make a contribution to help fund the training program. While
Second Chance receives a structure and is free to remove all or any part of the structure, it also
advises donors that a structure may remain on their property after Second Chance removes all
items of value. Donors are it advised that Second Chance will not provide demolition services
and that the structure which, in most cases has been stripped of all usable items, will remain. If
the donor wishes to remove the remains of the structure he/she must do so at his/her expense.

During the course of the ongoing investigation of Second Chance donors, these donors have
provided evidence from demolition companies that cost of demolition would be the same
whether or not Second Chance had stripped the structure of usable items. In other words, any
work done by Second Chance resulted in no savings in demolition costs to the donor - there was
no quid pro quo.

This conclusion is supported by a number of court cases, most of which involve the donation of a
conservation easement. In these cases, when a charitable entity accepts the easement, it requires
a cash donation by the donor to allow the entity to achieve its exempt purposes. For example, in
Scheidelman v. Commissioner, 682 F. 3 189 (2d Cir. 2012), the Court specifically stated:

            While Scheidelman's $9,275 donation was described as a prerequisite of the Trust's
            acceptance of the easement donation the Trust gave the Taxpayer no "goods or services"
            or "benefit" or anything of value in return for making her money gift.

The court further concluded that such cash payments are commonly required by charitable
entities as a condition for accepting a gift of property to allow the charity to defray the costs
associated with the expense of receiving the donated property. The courts in Kaufman v,
Commissioner, 134 T.C. 182 (2010), 136 T.C. 294(2011), vacated on another issue at 687 F. 3d
21 (1St Cir. 2012), and in Dunlap V. Commissioner, T.C. Memo 2012-126 reached similar
conclusions.
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Similar to the contributions in Scheidelman, Kaufman, and Dunlap, the donors received no goods
or services from Second Chance for the cash they contributed. This cash contribution did not
result in a reduction in their demolition costs. There was no quid pro quo.

In summary, we believe donors did not receive a quid pro quo for any cash contributions they
made to Second Chance because:

         I. They received no goods or services in return for any payments they made.
         2. The court cases that have considered the issue have concluded that any cash payments
            made in conjunction with a contribution of property are fully deductible as long as the
            donor did not receive goods or services in return.
         3. IRS Appeals has determined that cash payments made in conjunction with a
            contribution of property are fully deductible and are not a quid pro quo for demolition
            services.

Please direct any comments or questions you may have regarding this letter to the undersigned.

Thank you.

 Sincerely,


Thomas J. O'Rourke

Enclosures

cc:      Elizabeth Henn, IRS Counsel
         Mark Foster, Second Chance




Client
  ORIGIN ID:GAIA      (301) 762-1600                   SHIP DATE: 16MAY25
  PATRICK TOOHEY ESQUIRE                               ACTWGT: 0.50 LB
  MILES & STOCKBRIDGE P.C.                             CAD: 102185994/INET4535
  11 N. WASHINGTON STREET
  SUITE 700
  ROCKVILLE, MD 20850                                  BILL SENDER
  UNITED STATES US
TO   G. CARTER-LOUIS
     DEPARTMENT OF THE TREASURY
     550 MAIN STREET
     #10




                                                                                           58GJ4/EA36/59F2
     CINCINNATI OH 45999
  (301) 762-1600                  REF: 101898-48
  INV:
  PO:                                          DEPT:
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